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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JOSHUA ATCHLEY et al.,                        )
                                              )
                       Plaintiffs,            )
                                              )      Case No. 1:17-CV-02136 (RJL)
       v.                                     )
                                              )      ORAL ARGUMENT REQUESTED
ASTRAZENECA UK LIMITED et al.,                )
                                              )
                       Defendants.            )


                   DOMESTIC DEFENDANTS’ MOTION TO DISMISS
 
       Each of the  Domestic Defendants in the above-captioned action,1 by its respective

undersigned counsel, respectfully moves to dismiss the complaint in this action pursuant to Rules

12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure for the reasons set forth in the

accompanying Memorandum in Support of Defendants’ Rule 12(b)(1) and 12(b)(6) Motions to

Dismiss.

       Each of the Domestic Defendants also moves to dismiss Plaintiffs’ state law claims for lack

of personal jurisdiction, pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, for the

reasons set forth in Part III of the Memorandum in Support of Defendants’ Motions to Dismiss for

Lack of Personal Jurisdiction accompanying the Foreign Defendants’ Motion to Dismiss.

       Domestic Defendants respectfully request oral argument on this motion. A proposed order

has been attached hereto for the Court’s consideration.




       1
        The Domestic Defendants are AstraZeneca Pharmaceuticals, LP, GE Healthcare USA
Holding LLC, GE Medical Systems Information Technologies, Inc., Johnson & Johnson, Ethicon
Endo-Surgery, LLC, Ethicon, Inc., Janssen Ortho LLC, Johnson & Johnson (Middle East) Inc.,
Ortho Biologics LLC, Pfizer Inc., Pfizer Pharmaceuticals LLC, Pharmacia & Upjohn Company
LLC, Wyeth Pharmaceuticals Inc., Genentech, Inc., and Hoffmann-La Roche Inc.
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Dated: February 5, 2018                           Respectfully submitted,

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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

JOSHUA ATCHLEY et al.,             )
                                   )
                 Plaintiffs,       )
                                   )    Case No. 1:17-CV-02136 (RJL)
     v.                            )
                                   )
ASTRAZENECA UK LIMITED et al.,     )
                                   )
                 Defendants.       )


               MEMORANDUM IN SUPPORT OF DEFENDANTS’
               RULE 12(b)(1) AND 12(b)(6) MOTION TO DISMISS
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                                        INTRODUCTION

       From 2003-2010, more than 4,000 brave American service members lost their lives in

Operation Iraqi Freedom, and more than 30,000 were wounded in action. Plaintiffs and their

family members were among them. Defendants recognize and respect the extraordinary sacrifice

and dedication of all who served in the Iraq War, and sympathize with those—including Gold

Star families—who suffered injury or loss. Defendants condemn those who attacked U.S. forces

in Iraq and understand the strong desire to hold the perpetrators responsible.

       This lawsuit, however, attempts to do something else. Plaintiffs attempt to impose civil

liability on pharmaceutical and medical equipment companies for injuries and losses sustained at

the hands of Iraqi insurgent groups in the armed conflict in Iraq. This effort would stretch the

Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2331 et seq., well beyond its text, to impose liability

not on terrorists and their knowing supporters, but on companies that answered the U.S.

government’s call to help with the reconstruction of the Iraqi health care system.

       Pursuing a novel and expansive theory of liability under the ATA, Plaintiffs claim that

Defendants’ provision of life-saving medicine and medical equipment to the Iraqi Ministry of

Health (the “Ministry”) knowingly caused the attacks that injured Plaintiffs. This theory begins

with sectarian politics in Iraq after the United States returned sovereignty to that country, when a

Shi’a political faction under the leadership of Muqtada al-Sadr (the “Sadrists”) was given

responsibility for the Ministry. The Sadrists’ militia, Jaysh al-Mahdi (Arabic for “the Mahdi

Army”), allegedly infiltrated the Ministry and looted its resources. Plaintiffs allege the Sadrists’

control of Ministry resources helped Jaysh al-Mahdi in the ongoing military conflict in Iraq.

       Although Plaintiffs portray the Sadrist-led Ministry of Health as “not a genuine medical

institution” and nothing more than a “de facto terrorist group,” Compl. ¶ 3, the Ministry was in

charge of Iraq’s public healthcare system and responsible for delivering healthcare to the entire
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population of Iraq. In that mission, the Ministry had no greater benefactor than the U.S.

government. As part of its foreign policy commitment to rebuild Iraq, the United States

supported and heavily funded the Ministry, encouraged companies (including Defendants) to do

business with the Ministry, and urged companies (including some Defendants) to donate free

medicine to the Ministry. Nonetheless, Plaintiffs contend that Defendants’ provision of

medicines and medical equipment (such as baby incubators, ventilators, and EKG machines) to

the Ministry yielded—through looting and black-market sales by Jaysh al-Mahdi—cash that

Jaysh al-Mahdi then used to help fund attacks on Americans. On this basis, Plaintiffs allege that

Defendants knowingly supported terrorism.

       A central theme of Plaintiffs’ narrative is that Defendants’ dealings with the Ministry

allegedly were corrupt. Defendants deny that unfounded allegation, but even assuming its truth

(for purposes of Defendants’ motions), it is irrelevant under the ATA. Plaintiffs’ theory is that

“[w]hether or not” there was corruption, the ATA creates liability for any “transactions with a

counterparty [i.e., the Ministry] that was openly controlled by terrorists [i.e., Jaysh al-Mahdi].”

Compl. ¶ 172. In other words, under Plaintiffs’ view, anyone who did business with the Ministry

while the Sadrists were in charge of it is responsible for terrorism.

       Plaintiffs’ theory fails, for many reasons.1 First, at the threshold, Plaintiffs’ entire

Complaint should be dismissed for lack of jurisdiction under the political question doctrine

because a ruling in Plaintiffs’ favor would necessarily condemn wartime policies of the political

branches. If Plaintiffs’ theory were accepted, the inescapable conclusion would be that the

Executive and Legislative Branches, by funding the Sadrist-led Ministry of Health on a massive


       1
       Defendants have moved to dismiss under various subsections of Rule 12(b). This
memorandum addresses the arguments of all Defendants under Rules 12(b)(1) and 12(b)(6).
Defendants’ arguments under Rule 12(b)(2) are detailed in a separate memorandum.


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scale, also had engaged in and funded terrorism against U.S. forces in Iraq. A ruling in

Plaintiffs’ favor would likewise contradict the Executive’s wartime policy decisions to

encourage companies to do business with, and donate free goods to, the Ministry, and would

contradict the Executive’s policies toward the Sadrists and Jaysh al-Mahdi, including what

Plaintiffs concede was the Executive’s “strategic policy decision” not to designate Jaysh al-

Mahdi as a Foreign Terrorist Organization (“FTO”) under 8 U.S.C. § 1189. Compl. ¶ 344.

       Second, all of Plaintiffs’ ATA claims are precluded by the statute’s express bar against

civil actions for injuries arising from “acts of war,” including acts in the course of an “armed

conflict between military forces of any origin.” 18 U.S.C. §§ 2331(4), 2336(a). Iraq was

indisputably in a state of armed conflict throughout the period relevant to the Complaint, and

Plaintiffs’ injuries were allegedly the direct result of attacks by one military force (Jaysh al-

Mahdi) engaged in that conflict against other military forces (U.S. and Coalition). The ATA

precludes any action for injury or loss arising from such an armed conflict.

       Third, Plaintiffs’ direct liability claims under the ATA—i.e., that Defendants themselves

committed “acts of international terrorism”—are defective in numerous respects. Plaintiffs’

theoretical chain of causation between Defendants’ transactions with the Ministry and the

battlefield attacks on Americans is far too attenuated to meet the ATA’s “rigorous proximate

cause requirement.” Shatsky v. Palestine Liberation Org., No. 02-cv-2280, 2017 WL 2666111,

at *7 (D.D.C. June 20, 2017) (Leon, J.). Plaintiffs’ allegations also make clear that Defendants’

sale of medicine and medical equipment did not “appear to be intended” to “intimidate” or

“coerce” civilians or government policy, as required to constitute an “act of international

terrorism” under the ATA. 18 U.S.C. § 2331(1). Plaintiffs also fail to plead necessary elements

of the criminal offenses they allege as the requisite predicates for their ATA claims—material




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support for terrorism and financing of terrorism. 18 U.S.C. §§ 2339A, 2339C. They have not

sufficiently alleged the scienter element of these crimes, i.e., that Defendants knew their dealings

with the Ministry were funding terrorism. Liability based on § 2339A also cannot be premised

on the sale or manufacture of pharmaceuticals because that provision expressly exempts the

provision of medicine. Id. § 2339A(b)(1). And liability for attacks on service members cannot

be based on § 2339C, because that statute is expressly limited to civilians and others not taking

an active part in hostilities. Id. § 2339C(a)(1)(B).

       Fourth, Plaintiffs’ ATA aiding-and-abetting claims also fail. When Congress amended

the ATA in 2016 to include such claims, it cabined aiding-and-abetting liability to circumstances

in which an act of international terrorism is “committed, planned, or authorized” by a designated

FTO. 18 U.S.C. § 2333(d)(2). Jaysh al-Mahdi was not an FTO, and although Plaintiffs insinuate

that Hezbollah, which was an FTO, was broadly in league with the Sadrists, they have not

sufficiently alleged that Hezbollah committed, planned, or authorized the attacks that injured

Plaintiffs. Trying to plead around that shortcoming, Plaintiffs advance a novel but defective

theory under which the “Jaysh al-Mahdi Campaign” was a multi-year criminal RICO violation

that supposedly constituted both a “pattern of racketeering” and an “act of international

terrorism,” allegedly planned or authorized by Hezbollah and from which Plaintiffs’ injuries all

arose. That pleading trick fails as a matter of common sense and also as a matter of law: the

ATA requires Plaintiffs to link the FTO to each specific “act” of terrorism—i.e., each attack—

from which their injuries arose, not to an amorphous “Jaysh al-Mahdi Campaign”; to permit

otherwise would eviscerate Congress’s deliberate choice to require that the FTO have planned,

committed, or authorized the particular “act” in question. Moreover, Plaintiffs’ mere listing of

criminal acts generally attributed to a purported “Jaysh al-Mahdi Campaign” fails to satisfy




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RICO’s pleading requirements. Plaintiffs also fail to plead that Defendants knew they were

assisting the perpetrators of covered acts of terrorism (i.e., acts committed, planned, or

authorized by an FTO) or that any assistance they allegedly delivered was “substantial.”

       Fifth, Plaintiffs’ state-law intentional infliction of emotional distress claims fail, both

because they are brought outside the 3-year statute of limitations, and because Plaintiffs are

unable to state a claim on the merits.

       Thus, all claims against all Defendants should be dismissed. Moreover, Plaintiffs have

sued not only companies they allege sold and donated medicine and devices to the Ministry (the

“Supplier Defendants”), but also companies alleged merely to have manufactured the products

(the “Manufacturer Defendants”). Plaintiffs’ attempt to impose liability on the Manufacturer

Defendants is even more fraught with defects. None of the latter Defendants is alleged to have

transacted with, much less made corrupt payments to, the Ministry or Jaysh al-Mahdi.

       Defendants sympathize with the Plaintiffs, recognize their sacrifices, and are grateful for

their service. U.S. courts, however, are not available to adjudicate civil claims for injuries

caused by acts of war during the armed conflict in Iraq or to make political judgments about

whether the United States was right to fund the Iraqi government, promote business with its

ministries, and encourage political engagement by the Sadrists and other Iraqi sectarian factions.

Even if there were jurisdiction to hear such cases, the ATA and state law simply do not provide a

basis to sue Defendants for having provided medicine and medical equipment to the Iraqi

Ministry of Health on the far-fetched theory that the United States, Defendants, and others who

funded or did business with the Ministry were knowingly aiding and abetting attacks on U.S.

service members. Plaintiffs’ lawsuit therefore should be dismissed.




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                                  FACTUAL BACKGROUND

       A.       The U.S.-Led Invasion And Strategy For Victory In Iraq

       The Iraq War began in late March 2003 with the invasion of Iraq by U.S. and Coalition

armed forces. Compl. ¶ 54.2 Three weeks later, U.S.-led forces toppled Iraqi President Saddam

Hussein’s regime, id., bringing an end to the first phase of the war and marking the beginning of

a new phase: a military occupation followed by at least seven more years of armed conflict

between, on one side, U.S. and Coalition forces and the new Iraqi government, and, on the other

side, a wide array of armed insurgent groups, including Jaysh al-Mahdi, that also fought with

each other. The armed conflict in Iraq lasted for the entire period of attacks alleged in the

Complaint.3 All told, and from 2003-2010, 4,424 U.S. service members were killed and another




       2
          Defendants vigorously dispute many of the allegations in the Complaint, and especially
the allegations that they knowingly supported terrorism or violence against U.S. soldiers or
engaged in any other alleged wrongdoing. But for purposes of their Rule 12(b)(6) motion,
Defendants accept as true Plaintiffs’ well-pleaded, non-conclusory factual allegations and rely on
only the Complaint, materials it incorporates by reference (Exs. 2 - 16), and documents subject to
judicial notice (Exs. 17 - 74). See Stewart v. Nat’l Educ. Ass’n, 471 F.3d 169, 173 (D.C. Cir.
2006) (“In determining whether a complaint states a claim, the court may consider the facts
alleged in the complaint, documents attached thereto or incorporated therein, and matters of
which it may take judicial notice”); see also Al-Aulaqi v. Panetta, 35 F. Supp. 3d 56, 67 (D.D.C.
2014) (court may take judicial notice of facts that are not subject to “reasonable dispute” because
they “can accurately and readily be determined from sources whose accuracy cannot reasonably
be questioned,” including “public records and government documents.”) Two items (Exs. 75 &
76) are submitted solely in support of Defendants’ Rule 12(b)(1) motion. See Lillard & Lillard,
P.C. v. Blue Cross & Blue Shield Ass’n, 971 F. Supp. 2d 116, 118 (D.D.C. 2013) (Leon, J.)
(court can consider extra-pleading materials in determining whether claims are justiciable). The
exhibits have been filed electronically, but Defendants will, of course, provide the Court (and
Plaintiffs) with courtesy copies if the Court would find that helpful.
       3
         See, e.g., White House Off. of Press Sec’y, President Obama Has Ended the War in
Iraq, 2011 WL 5014178, at *1 (Oct. 21, 2011) (“The long war in Iraq will come to an end by the
end of [2011].”); Barbara Salazar Torreon, Cong. Research Serv., RS21405, U.S. Periods of War
and Dates of Recent Conflicts 8-9 (Oct. 11, 2017) (“On December 15, 2011, U.S. Armed Forces
in Baghdad marked the official end of the war in Iraq.”) (Ex. 17).



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31,957 were wounded in the course of Operation Iraqi Freedom.4 Many military contractors

were also killed or injured.

       The United States faced numerous challenges in the years following the invasion. Iraq’s

public infrastructure and economy were in tatters due to failed economic policies, corruption,

crime, neglect, international sanctions, and prior armed conflicts. And after U.S.-led forces

ousted Saddam Hussein in April 2003, various Sunni and Shi’a militant groups waged an armed

conflict to try to expel U.S.-led forces from Iraq and competed with each other for power. See

Compl. ¶¶ 54-61, 95, 326. To address these challenges, the United States adopted and

implemented a multi-pronged “strategy for victory in Iraq” that included: (1) defeating insurgent

forces on the battlefield and restoring security; (2) rebuilding and supporting the Iraqi economy

and government institutions; and (3) establishing democratic governance by bringing warring

factions into the political process as part of a new parliamentary system.5

       B.       The U.S. Policy Of Funding And Rebuilding Iraq And The Ministry

       The United States adopted and implemented a foreign policy of substantial aid and

reconstruction in Iraq, involving a vast effort to rebuild, fund, and supply the Government of

Iraq—including the Ministry of Health and the Iraqi health care system. In November 2003,

Congress appropriated $20 billion to the Iraq Relief and Reconstruction Fund, including $793

million to fund and support the Ministry over a period of years.6 President George W. Bush


       4
          Dep’t of Def., Operation Iraqi Freedom (OIF) U.S. Casualty Status Fatalities (last
visited Jan. 18, 2018) (Ex. 18).
       5
       See White House Off. of Press Sec’y, President Outlines Strategy for Victory in Iraq,
2005 WL 3197396 (Nov. 30, 2005).
       6
         Emergency Supplemental Appropriations Act for Defense & Reconstruction of Iraq &
Afghanistan, Pub. L. No. 108-106, 117 Stat. 1209 (Nov. 6, 2003). See also U.S. Gov’t
Accountability Off., GAO-05-876, Rebuilding Iraq: Status of Funding and Reconstruction
Efforts 32 (2005) (Ex. 19).



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referred to the appropriation as “the greatest commitment of its kind since the Marshall Plan,”

and explained that it would serve U.S. national security interests by “help[ing] build [a] stable

democratic societ[y] in Iraq.”7 The United States spent hundreds of millions of dollars on Iraqi

public health and other humanitarian needs throughout the period at issue in the Complaint, not

only for the Ministry, but for countless other discrete purposes, such as $300 million for “urgent

humanitarian relief” in Iraq (and Afghanistan) in fiscal year 2005.8

       Restoring Iraq’s nearly collapsed public health care system was particularly critical to the

U.S. effort to rebuild and support the Iraqi government. Following the first phase of the war,

more than half of Iraq’s medicine storage warehouses had been looted of pharmaceuticals, and

the Iraqi health sector faced serious procurement challenges.9 Facing the prospect of a complete

breakdown of the public health system and a humanitarian catastrophe, the U.S.-led Coalition

Provisional Authority (“CPA”), led by Ambassador L. Paul Bremer, increased the budget for

health care spending from $16 million in the last year of the Hussein regime to $950 million for

2004 alone.10 The U.S. Army deployed its Medical Department to assist in improving the

infrastructure and procurement procedures of the Ministry and Kimadia—the state-owned



       7
        White House Off. of Press Sec’y, Remarks by the President at Signing of H.R. 3289 –
The Emergency Supplemental Appropriations Act for Defense and for the Reconstruction of Iraq
and Afghanistan, 2003 WL 22513828 (Nov. 6, 2003). See also Statement by President George
W. Bush upon Signing H.R. 3289, 2003 U.S.C.C.A.N. 1308, 1308 (2003).
       8
        National Defense Authorization Act for Fiscal Year 2005, Pub. L. No. 108-375
§§ 1201(a)(1), 1204(a)(4), 118 Stat. 1811 (2004).
       9
        U.S. Gov’t Accountability Off., GAO-05-876, Rebuilding Iraq: Status of Funding and
Reconstruction Efforts 31 (2005) (Ex. 19).
       10
         White House Off. of the Press Sec’y, Fact Sheet: The New Iraqi Healthcare System,
2003 WL 22941262, at *1 (Dec. 15, 2003); Michael R. Gordon & Gen. Bernard Trainor, The
Endgame: The Inside Story of the Struggle for Iraq, From George W. Bush to Barack Obama 12-
13 (2012) (cited at Compl. ¶ 59 n.19) (Ex. 2).



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company managed by the Ministry that was responsible for importing and distributing all

pharmaceuticals and medical equipment—and it did so at considerable personal risk to U.S.

service members.11 So important was the U.S. policy of supporting the Ministry that President

Bush met in person with Iraq’s interim Health Minister in December 2003 to discuss public

health priorities and the U.S. delivery of more than 25,000 tons of medicines and medical

supplies to Iraqi hospitals.12 During a 50-day period in 2003, the U.S. government shipped more

than 3,000 tons of pharmaceuticals and medical supplies to Iraq.13

       After the return of sovereignty to Iraq in mid-2004, U.S. support for the Ministry and

Kimadia remained a priority. Under Iraq’s public, single-payer health care system, the Ministry

employed “every public-sector doctor, pharmacist, nurse, and medical technician in Iraq,” and

Kimadia had a “monopoly” over all medical imports into Iraq. Compl. ¶¶ 70-71. Accordingly,

the United States—and others who imported medical goods into Iraq—had to work with the

Ministry and Kimadia. Id.14 Significant U.S. aid thus continued to flow to the Ministry and

Kimadia for public health infrastructure, medicines, and medical supplies,15 including from the

$793 million and other discretionary funds the U.S. government had appropriated for the


       11
         Fiscal 2005 Budget: Def. Health Programs, Hearing Before the Subcomm. on Total
Force of H. Comm. on Armed Servs., 2004 WL 542571 (Mar. 18, 2004) (statement of Lieutenant
General James B. Peake, Surgeon General of the Army).
       12
       White House Off. of the Press Sec’y, Fact Sheet: The New Iraqi Healthcare System,
2003 WL 22941262, at *1 (Dec. 15, 2003).
       13
          U.S. Dep’t of Def., Dr. William Winkenwerder Holds Defense Department News
Briefing on Efforts to Rebuild the Iraqi Health System, 2003 WL 21718495 (July 25, 2003).
       14
          See, e.g., Brandon Sprague & Adam Shemper, Baghdad’s Shame, Salon (Aug. 28,
2003) (cited at Compl. ¶ 48 n.5) (describing presentation given to Kimadia employees in 2003 by
a U.S. military advisor who had “personally overseen the delivery of 6,500 tons of medical
supplies to local Kimadias and hospitals in 80 days”) (Ex. 3).
       15
         U.S. Gov’t Accountability Off., GAO-05-876, Rebuilding Iraq: Status of Funding and
Reconstruction Efforts 32-33 (2005) (Ex. 19).



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Ministry, Kimadia, and the Iraqi public health sector. In 2005 and 2006, for instance, the United

States Agency for International Development (“USAID”) funded massive grants to distribute

“[e]ssential health care equipment” to the Ministry16; supported the Ministry’s vaccination

efforts in every governorate of Iraq17; supplied vitamin supplements to hundreds of thousands of

Iraqi children18; and restored and supplied Iraqi public health clinics.19 USAID and the U.S.

Department of Defense also delivered hundreds of millions of dollars’ worth of medical supplies

and equipment directly to the Ministry and Kimadia for distribution to Ministry-controlled

hospitals and clinics throughout Iraq in 2005 and 2006.20 Pursuant to the Strategic Framework

Agreement signed by the United States and Iraq in 2008, the United States committed to

“[s]upport and strengthen Iraq’s efforts to build its health infrastructure,” “strengthen health

systems and networks,” and improve “Iraq’s medicine procurement system.”21 In 2009, the

United States remained “actively engaged” with the Ministry to help “meet the healthcare needs

of the Iraqi people.”22



       16
         U.S. Agency for Int’l Dev. (“USAID”), Reconstruction Weekly Update 7 (Mar. 31,
2005) (Ex. 20).
       17
         USAID, Reconstruction Weekly Update 1, 6 (Sept. 1, 2005) (Ex. 21); USAID,
Reconstruction Weekly Update 10 (July 7, 2005) (Ex. 22).
       18
            USAID, Reconstruction Weekly Update 5 (Sept. 30, 2005) (Ex. 23).
       19
          USAID, Reconstruction Weekly Update 5 (Jan. 20, 2006) (Ex. 24); see also USAID,
Fact Sheet: Accomplishments in Iraq (Oct. 14, 2009) (summarizing USAID-sponsored Ministry
projects) (Ex. 25).
       20
           See, e.g., U.S. Dep’t of State, § 2207 Report on Iraq Relief and Reconstruction, App’x
I (Apr. 6, 2005) (Ex. 26); U.S. Dep’t of State, § 2207 Report on Iraq Relief and Reconstruction,
Exec. Summ. (Apr. 2006) (“The U.S. has purchased over $117 million of medical equipment for
use in clinics. It will be transferred to the Iraqi Ministry of Health.”) (Ex. 27).
       21
            U.S.-Iraq Strategic Framework Agreement § VI (1), (3) (Nov. 17, 2008) (Ex. 28).
       22
          U.S. Dep’t of Def., Report to Congress: Measuring Stability and Security in Iraq 20
(July 23, 2009) (Ex. 29).



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       The United States also took wide-ranging steps to allow and encourage private companies

from outside Iraq to do business with the Ministry and Kimadia. In May 2003, the Bush

Administration (1) de-designated Iraq as a state sponsor of terrorism, (2) suspended terrorism-

related sanctions against the government, including government agencies like the Ministry, thus

permitting U.S. entities and their affiliates to do business with them, and (3) included Kimadia in

a General License issued by the Treasury Department’s Office of Foreign Assets Control to

ensure that Kimadia and others could utilize the U.S. banking system.23

       The United States also expressly encouraged companies such as Defendants to sell and

donate medicines and medical equipment to the Ministry and Kimadia, and to train them in the

use of such medicines and equipment. This effort to enlist private-sector assistance initially was

led by the CPA Senior Health Advisor to the Ministry, James Haveman, whom President Bush

had appointed to oversee the Ministry before its transition to Iraqi civilian rule.24 In July 2003,

Haveman requested that regional representatives of multinational pharmaceutical companies

commit to supply medicines to Iraq on a long-term basis, in order to ensure a continuous

supply.25 Thereafter, he and a CPA procurement advisor traveled to Jordan in November 2003 to

advise companies that were members of the Pharmaceutical Research and Manufacturers of

America (“PhRMA”)—whose members at the time included affiliates from each Defendant


       23
         See Suspending the Iraq Sanctions Act, 68 Fed. Reg. 26,459 (May 7, 2003); Off. of
Foreign Assets Control, Specially Designated Nationals and Blocked Persons, and Amended
Iraqi General Licenses, 2004 WL 569364, at *4 (Mar. 23, 2003); Compl. ¶ 123.
       24
            See The White House, James K. Haveman Jr. (Ex. 30).
       25
           U.S. Dep’t of State Cable, CPA Senior Health Advisor Haveman’s Visit to Amman
(Aug. 3, 2003) (sensitive but unclassified) (Ex. 75). Plaintiffs’ Complaint relies on a large
number of U.S. State Department cables that were disclosed on the Internet by WikiLeaks (such
as this cable) but that (unlike this cable) are marked as classified. While Defendants have not
relied upon any such classified cables in this memorandum, Plaintiffs’ reliance on cables that
have not been declassified would complicate adjudication of this case were it to go forward.



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corporate family—that the Ministry would soon take control of pharmaceutical importation, and

to explain Kimadia’s bidding process, including the contracting, importation, and payment

processes applicable to brand-name suppliers such as Defendants.26 Haveman also explained

that CPA head Bremer would soon issue a letter to PhRMA member firms requesting that they

donate $500 million worth of medicines to the Ministry, which Haveman said were still

desperately needed as the United States worked to restore and supply Iraq’s public health

system.27 He also urged PhRMA companies to send a delegation to Baghdad and to advise the

Ministry on medicines training for Iraqi physicians.28 The CPA promulgated tariffs for imports

into Iraq, but exempted “medicines and medical equipment,”29 and indeed, that exemption

continued through at least 2012.30

       After the return of sovereignty to Iraq in June 2004, the United States continued to

encourage companies to supply medicines and medical equipment to the Ministry and Kimadia.

The U.S. Commercial Service, an arm of the Department of Commerce, produced regular reports

on “Doing Business in Iraq” that advised pharmaceutical and medical device companies on how

to obtain licensure from the Ministry in order to participate in the Kimadia bidding process.31 In


       26
         U.S. Dep’t of State Cable, Good Vibes at Iraqi MOH Briefing for Big PhRMA (Nov.
20, 2003) (unclassified) (Ex. 76).
       27
            Id.
       28
            Id.
       29
            Coal. Provisional Auth., Reconstruction Levy, Order No. 38 § 2 (Sept. 9, 2003) (Ex.
31).
       30
            Int’l Trade Admin., Exporting U.S. Goods to Iraq (June 2012) (Ex. 32).
       31
          E.g., U.S. Commercial Serv., Doing Business in Iraq (2013) (cited at Compl. ¶ 124
n.85) (Ex. 4) (pp. 3-7 of excerpt); U.S. Commercial Serv., Doing Business in Iraq, at 34 (2012)
(Ex. 33) (pp. 3-7 of excerpt). See also U.S. Dep’t of Commerce, Business Guide for Iraq, at 3-5
(2004) (describing healthcare as a “[s]pecific sector[] of interest” for USAID contracting, and
explaining that some Iraqi government ministries were operating their own process for tendering



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April 2007, USAID produced a report on “Pharmaceutical and Medical Products in Iraq” that

included detailed information on how to become a recognized supplier, submit a tender, and

enter the Iraqi pharmaceutical market as a non-Iraqi supplier.32 Beginning in 2006, USAID and

the Department of Defense contracted with Defendants GE Medical Systems Information

Technologies, Inc. and Johnson & Johnson to deliver medical equipment for use in Ministry

facilities.33 In January 2009, USAID co-sponsored a Health Investment Seminar in Dubai along

with a contingent from the Iraqi government, led by the Ministry of Health.34 The goal of this

seminar was to match the various directorates of the Ministry with private medical suppliers to

help Iraq modernize its health system, including its procurement system. The U.S. Department

of Commerce encouraged companies with expertise in the health care sector, including those that

produced or sold medical equipment and pharmaceuticals, to attend this seminar.35

       Throughout the period at issue, the United States maintained its support for the Ministry

and Kimadia—and continued to encourage companies to transact with them—despite concerns

about corruption within those agencies. For instance, the 2007 USAID report that encouraged


contracts, including for “medical supplies”) (Ex. 34); U.S. Commercial Serv., Doing Business in
Iraq (2009) (advising firms selling products in Iraq work through PhRMA) (Ex. 35) (p. 6 of
excerpt).
       32
         USAID, Iraq Private Sector Growth and Employment Generation: Pharmaceutical and
Medical Products in Iraq, at 49-53 (Apr. 17, 2007) (cited at Compl. ¶ 127 n.88) (Ex. 5); see also
USAID, Investor Guide of Baghdad, at 40 (Nov. 2011) (identifying health sector as an
“investment opportunity,” and explaining “foreign investments that introduce state-of-art
technology and modern medical appliances” would improve health care in Baghdad) (Ex. 36).
       33
          See, e.g., U.S. Special Inspector Gen. for Iraq Reconstr., Quarterly Report to the U.S.
Congress, List of Contracting Actions and Grants (Oct. 30, 2012) (Ex. 37); U.S. Special
Inspector Gen. for Iraq Reconstr., Quarterly Report to the U.S. Congress, List of Contracting
Actions and Grants, at D49 (Oct. 30, 2006) (Ex. 38).
       34
          U.S. Special Inspector Gen. for Iraq Reconstr., Quarterly Report to the U.S. Congress,
at 70 (Jan. 30, 2009) (Ex. 39).
       35
         U.S. Dep’t of Commerce, International Trade Administration, Iraq: Events (last
updated Aug. 25, 2015) (Ex. 40).


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investment in Iraq’s health sector, see supra note 32, noted that “[t]he [Ministry] . . .

acknowledges corruption within its own ranks” but “intends to tackle” the illegal practice of

resale from clinics and pharmacies to street traders. Compl. ¶ 127 & n.89. In sum, “[a]lthough

many challenges remain[ed],” the United States continued to “actively engage[]” with the

Ministry to “meet the healthcare needs of the Iraqi people,” see 2009 Dep’t of Defense Report,

supra note 22—and to urge companies to do the same—because this effort was essential to

stabilizing Iraq.

        C.      The Sadrists And Jaysh Al-Mahdi

        Among the most destabilizing forces in Iraq were sectarian conflicts that erupted between

and among Sunni and Shi’a factions after the Hussein government collapsed in 2003. At that

time, Muqtada al-Sadr formed one such faction as “the leader of masses of impoverished Iraqi

Shi’a” who took over “Saddam City” in eastern Baghdad and renamed it “Sadr City.” Compl.

¶ 57. Sadr and his followers, drawing on grassroots popularity inherited from his father, a

renowned cleric assassinated by Saddam, started a movement called the “Sadrist Trend” and

became known as “Sadrists.” Id. ¶¶ 56, 58. The Sadrists formed a “political wing” led by Sadr,

and a militant wing, “Jaysh al-Mahdi,” (Arabic for the “Mahdi Army”), which Plaintiffs have

also called “a terrorist wing.” Id.

        The Sadrists quickly became a significant political force with millions of Iraqi Shi’a

supporters. See Compl. ¶ 344. Sadr-backed candidates won 23 seats in the January 2005

parliamentary election, and increased their share to 32 seats that December. Id. ¶ 67. Members

of parliament from Sadr’s bloc joined the Iraqi government after both elections, and when

cabinet ministries were “divvied up by political party,” the Sadrists were given control of

several, including the Ministry of Health, where they installed one of their own as the Minister of




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Health. Id. The United States continued to support and work with the Ministry and encouraged

the Sadrists to play a constructive role in the Iraqi government.36 The Sadrist Minister of Health

resigned in April 2007 and was replaced with an independent minister.37

       At the same time, Jaysh al-Mahdi and others were engaged in sectarian violence against

various Sunni-led factions38 and were conducting an armed insurgency to try to expel U.S.-led

Coalition forces from Iraq. Compl. ¶¶ 58-61, 411. In this context, Plaintiffs acknowledge that

Jaysh al-Mahdi was a “militia” with “military ends,” see, e.g., id. ¶¶ 158-59, comprised of “a

well-armed, well-trained force of insurgents”39—“boast[ing] at least 60,000 fighters,” id.

¶ 331—that used armed force to maintain control over particular Shi’a “stronghold” territories in

Iraq and to engage other Iraqis40 and U.S. forces in combat, see id. ¶¶ 8, 13, 58-59, 60.

Described in the Complaint alternately as “terrorists” and “fighters,” compare id. ¶ 74, with id.

¶ 87, Jaysh al-Mahdi militia members fought U.S. forces using “brigades,” “regional command

centers,” id. ¶¶ 60, 331, and military-style attacks, including assaults with heavy weapons on



       36
          USAID, Iraq Weekly Update 6 (Mar. 31, 2006) (“USAID is supporting the Iraqi
Ministry of Health (MoH) to strengthen essential health services, improve the capacity of health
personnel, and respond to the specific health needs of vulnerable populations such as women and
children.”) (Ex. 41); Iraq: The Crocker-Petraeus Report: Hearing on S. 110-490 Before the S.
Comm. on Foreign Relations 101, 110th Cong. (Sept. 11, 2007) (responses of Gen. David
Petraeus to Questions Submitted for the Record by Senator Joseph Biden) (Ex. 42).
       37
         See Kenneth Katzman, Cong. Research Serv., RL31339, Report for Congress, Iraq:
Post-Saddam Governance and Security 17 (June 4, 2008) (Ex. 43).
       38
          While Jaysh al-Mahdi targeted “foreign enemies,” including the “U.S.-led Coalition
forces,” Compl. ¶ 58, it was simultaneously fighting Sunni insurgent groups, some of which
were also fighting against the Coalition forces. See President Outlines Strategy for Victory in
Iraq, supra note 5; Damien Cave & Stephen Farrell, At Street Level, Unmet Goals of Troop
Buildup, N.Y. Times (Sept. 9, 2007) (cited at Compl. ¶ 100 n.53) (Ex. 6).
       39
          See also Nimrod Raphaeli, Understanding Muqtada al-Sadr, Middle East Quarterly 8
(Fall 2004) (cited at Compl. ¶ 59 n.18) (Ex. 7).
       40
        152 Cong. Rec. H8581 (daily ed. Nov. 13, 2006) (statement of Rep. Ted Poe) (cited at
Compl ¶ 340 n.283) (Ex. 8).


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U.S. military personnel, tanks, convoys, helicopters, and bases, id. ¶¶ 330, 334, 338. Jaysh al-

Mahdi conducted these attacks and defended its strongholds with military weapons such as

rocket-propelled grenades, id. ¶¶ 337, 592; explosively formed penetrators, which are “specially

shaped explosive charge[s] designed to penetrate tank armor,” that “required advanced

machinery and copper . . . as well as advanced engineering know-how,” id. ¶¶ 334, 335; mortars,

“an artillery-like weapon that fires explosives at short ranges,” id. ¶ 336; surface-to-air missiles;

and other rockets, id. ¶¶ 338, 450.

       With armed groups such as Jaysh al-Mahdi engaged in military-style attacks against each

other and against U.S., Coalition, and Iraqi armed forces, Iraq remained a war zone in a state of

protracted and complicated armed conflict. In addition to Plaintiffs’ allegations of military-style

attacks by Jaysh al-Mahdi, the source materials that Plaintiffs cite in their Complaint confirm the

reality of war and armed conflict in post-Saddam Iraq. For example:

              “What is clear, as the U.S. military announces heavy casualties and with roadside
               bombs at an all-time high, is that American soldiers are . . . suddenly caught in the
               midst of two distinct wars: a counter-insurgency and a rapidly escalating sectarian
               conflict.”41

              Baghdad was “a war zone where entire sections of the City are off limits even to
               army personnel.”42

              Army Gen. David H. Petraeus said the U.S. effort “clearly is going to require
               enormous commitment and commitment over time and told Americans to be
               prepared for ‘more combat action and . . . more casualties’ as troops move into new




       41
         Lara Logan, Iraq, Up Close: Bodies and Terror, CBS News (Oct. 5, 2006) (cited at
Compl. ¶ 73 n.29) (Ex. 9).
       42
         Off. of Accountability & Transparency, U.S. Embassy in Baghdad, The Sixth Month
Review of Iraq’s Performance & Capacity In Enforcing Its Anticorruption Laws 9 (Dec. 24,
2006) (sensitive but unclassified) (cited at Compl. ¶ 77 n.30) (Ex. 10).



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                 areas.”43

                “A classified CIA report in November [2006] interpreted the conditions in Iraq as
                 a ‘civil war.’”44

                “[T]he additional troops had slowed, but far from stopped, Iraq’s still-burning civil
                 war.”45

       U.S. and Coalition forces fought for years to defeat Jaysh al-Mahdi on the battlefield,

including with teams whose primary focus was fighting Jaysh al-Mahdi. E.g., Compl. ¶ 391.46

At the same time, the United States encouraged Sadrists to settle their differences through

political participation in Iraq’s new democracy.47 The State Department made what Plaintiffs

allege was a “strategic policy decision” not to designate Jaysh al-Mahdi as an FTO, “reflect[ing]

a political concern among some U.S. policymakers about the best way to influence Sadr” to

engage with U.S.-backed entities and work peacefully through Iraqi government institutions. Id.

¶ 344.48 In an effort to give political reconciliation a chance, U.S. forces and other Iraqi groups

repeatedly entered into cease-fire agreements with Sadr and Jaysh al-Mahdi commanders.49


       43
          William Branigin, Petraeus: Iraq Situation Is ‘Exceedingly Challenging,’ Wash. Post
(Apr. 26, 2007) (cited at Compl. ¶ 92, n.43) (Ex. 11).
       44
            Endgame, supra note 10, at 295 (cited at Compl. ¶ 59 n.19).
       45
            See At Street Level, supra note 38 (cited at Compl. ¶ 100 n.53).
       46
           David E. Johnson et al., The 2008 Battle of Sadr City: Reimagining Urban Combat at
xiii-xiv (RAND Corp. 2013) (cited at Compl. ¶ 130 n.268) (Ex. 12).
       47
            See Iraq: The Crocker-Petraeus Report, supra note 36, at 101.
       48
          A federal statute, 8 U.S.C. § 1189(a)(1)(C), directs the State Department to designate
as an FTO any foreign organization that it determines has engaged in terrorism that “threatens
the security of United States nationals or the national security of the United States.” The United
States designated several groups based in or active in Iraq as FTOs, including Ansar al-Islam and
Al-Qa’ida in Iraq, see U.S. Dep of State, Country Reports on Terrorism 2008, at 288, 319-20
(April 2009) (Ex. 44), and, in 2009, some Shi’a groups such as Kata’ib Hizballah, U.S. Dep of
State, Country Reports on Terrorism 2009, at 260-61 (Aug. 2010) (Ex. 45), but it did not
designate Jaysh al-Mahdi or the Sadrists.
       49
         Endgame, supra note 10, at 73 (cited at Compl. ¶ 59 n.19); id. at 424-25 (explaining a
six-month cease fire Sadr declared in 2007); id. at 485; id. at 500.


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       D.      The Armed Attacks At Issue

       According to the Complaint, all of the Plaintiffs’ injuries arose from armed attacks in Iraq

between 2005 and 2009 that killed or wounded 33 members of the U.S. armed forces and 7

contractors accompanying those forces. Compl. ¶ 1. The Complaint alleges that Jaysh al-Mahdi

committed all but one of these armed attacks, see generally id. ¶¶ 390-615; see id. ¶ 411

(attributing one attack to Ansar al-Sunna), and that Jaysh al-Mahdi’s “publicly stated, primary

goal” in committing these attacks “was the expulsion of Americans from Iraq,” id. ¶ 326. These

attacks were carried out using military weapons or explosives and armed insurgency operations

characteristic of military forces. See id. ¶¶ 332, 339, 396, 450, 456, 551, 592, 607. Some of

them occurred during the “Battle of Sadr City,” which pitted a large force of Jaysh al-Mahdi

combatants against the U.S. military and claimed 925 lives and injured 2,605, including three

Plaintiffs or Plaintiffs’ family members. Id. ¶¶ 338, 524, 592, 607. Plaintiffs allege that Jaysh

al-Mahdi received general support (including training, funding, and weapons) and inspiration

from Hezbollah, an Iranian-backed FTO based in Lebanon. See id. ¶¶ 345-89.

       The 33 service member victims were all deployed to Iraq in combat roles as members of

the U.S. Army, Marine Corps, or Air Force, and/or were embedded with combat battalions in

Iraq.50 Many were engaged in military missions that specifically targeted Jaysh al-Mahdi.

Compl. ¶ 391. Jaysh al-Mahdi “was the principal enemy” that 17 of the victims “were tasked

with fighting” as members of the U.S. Army, 1st Infantry Division, 2nd Battalion, 16th Infantry

Regiment, 4th Brigade Combat Team, known as the “2-16 Rangers.” Id. (2-16 Rangers “were

responsible for fighting Jaysh al-Mahdi in an area a few miles southeast of Sadr City” and had



       50
          Compl. ¶¶ 391, 395, 400, 402, 407, 410, 441, 449, 463, 468, 477, 482, 497, 500, 509,
512, 515, 521, 523, 529, 534, 543, 547, 550, 552, 557, 572, 582, 591, 599, 606, 608, 613.


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“responsibility for securing several key neighborhoods in eastern Baghdad from Jaysh al-Mahdi,

including Kamaliyah and Fedilayah”); see also id. ¶¶ 400, 402, 407, 463, 468, 477, 500, 509,

512, 521, 529, 543, 547, 550, 606, 613 (identifying 17 victims who were 2-16 Rangers).

       The seven other victims were military contractors embedded with combat units and

otherwise tied to the military mission in Iraq. The contractor victims provided security for areas

used by U.S. military forces and for civilians who disposed of captured weapons, Compl. ¶¶ 431,

455, 472, 564, and they generally operated in zones of active fighting, id. ¶¶ 489, 492, 504.

       Eighty-eight of the named Plaintiffs are relatives (or, in one instance, the estate) of the

U.S. service members or contractors who were the direct victims of the armed attacks alleged in

the Complaint, and all of the Plaintiffs allege emotional injuries arising from the injuries or

deaths of their loved ones.51

       E.      The Defendants’ Supply Of Medicines And Medical Devices To The Ministry

       Defendants are among the world’s leading manufacturers and suppliers of medicines and

medical products, including oral and intravenous breast cancer medication, Compl. ¶¶ 184, 306,

injections used to treat hemophilia, id. ¶ 284, MRIs, CT scanners, and ultrasound machines, id.

¶ 220, and catheters, sutures, and arterial sheaths, id. ¶ 241. Defendants (or their supplier

affiliates) have sold and donated these and other life-saving medications and medical supplies in

countries throughout the world, including Iraq.

       The Complaint characterizes nine of the Defendants as the “[S]upplier Defendants” and




       51
         Id. ¶¶ 394, 399, 406, 413-30, 435-40, 444-48, 458-62, 467, 470-71, 475, 480-81, 485-
86, 494-95, 506-07, 518-19, 526-27, 531-33, 537-41, 545-46, 549, 555, 560-63, 567-70, 575-80,
585-89, 594-97, 602-04, 611.



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eleven of the Defendants as the “[M]anufacturer Defendants.”52 Compl. ¶¶ 181, 205, 239, 276,

304. Plaintiffs allege that the Supplier Defendants bid on and won contracts to supply medicines

and medical devices to the Ministry and Kimadia, in part by providing “kickbacks” to those

agencies. See, e.g., id. ¶¶ 184-85, 207-08, 240-41, 247-48, 279-81, 306-07. Plaintiffs allege that

the Manufacturer Defendants manufactured the pharmaceuticals (and in some instances medical

equipment) that the Supplier Defendants sold or donated to the Ministry and Kimadia. Id.

¶¶ 181, 205, 239, 276, 304. The Manufacturer Defendants are not alleged to have entered into

contracts with, or provided kickbacks to, either agency. Compare, e.g., id. ¶¶ 183, 185 (Supplier

Defendants), with id. ¶ 187 (Manufacturer Defendants).

       The Complaint alleges that the “kickbacks” by Supplier Defendants consisted of “free

goods,” Compl. ¶¶ 183, 211, 240, 279, 306, or “commissions” in goods or cash, id. ¶ 139. It also

alleges that the Ministry and Kimadia required Defendants and other suppliers to provide such

“free goods” and “commissions” in order to win contracts. See, e.g., id. ¶ 4. The Complaint

states that “Kimadia’s standard bid instructions regularly instructed companies to specify the

quantity of extra goods that they would provide for free.” Id. ¶ 117. It was also allegedly the

“regular practice” of Ministry officials to require all non-Iraqi drug suppliers to pay

“commissions” at various stages in the drug registration process. Id. ¶¶ 141-57. Plaintiffs



       52
          The Supplier Defendants are AstraZeneca UK Limited, GE Medical Systems
Information Technologies GmbH, Johnson & Johnson (Middle East), Cilag GmbH International,
Janssen Pharmaceutica NV, Pfizer Inc., Wyeth Pharmaceuticals Inc., Pfizer Enterprises SARL,
and F. Hoffmann-La Roche Ltd. The Manufacturer Defendants are AstraZeneca
Pharmaceuticals LP, GE Healthcare USA Holding Inc., GE Medical Systems Information
Technologies, Inc., Ethicon, Inc., Ethicon Endo-Surgery LLC, Janssen Ortho LLC, Ortho
Biologics LLC, Pfizer Pharmaceuticals LLC, Pharmacia & Upjohn Company LLC, Genentech,
Inc., and Hoffmann-La Roche Inc. The Complaint describes one Defendant, Johnson & Johnson,
as neither a Supplier Defendant nor a Manufacturer Defendant, but alleges that it was the “parent
company” of certain affiliated Manufacturer and Supplier Defendants and that it “oversaw and
supervised” the alleged actions of its subsidiaries. Id. ¶ 239.

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further allege that some free goods went to Jaysh al-Mahdi because there was no “meaningful

distinction between the Ministry and Jaysh al-Mahdi.” Id. ¶ 159. Yet, Plaintiffs also allege that

Jaysh al-Mahdi was able to obtain the goods from the Ministry only by “theft or

misappropriation,” and the “smuggl[ing]” of stolen goods, see id. ¶¶ 165, 170-71 & n.129.

                STATUTORY FRAMEWORK AND PLAINTIFFS’ CLAIMS

       A.      The ATA’s Civil Remedy Provision

       Subject to a variety of limitations and exclusions, the ATA provides a private right of

action to U.S. nationals who are victims of a criminal “act of international terrorism.” 18 U.S.C.

§ 2333(a). For the first 24 years after its enactment, § 2333 provided for civil actions against

only defendants who themselves committed such a criminal act (“direct” liability). In September

2016, Congress passed the Justice Against Sponsors of Terrorism Act (“JASTA”), Pub. L. No.

114-222, 130 Stat. 852, which amended the ATA to add a new provision, 18 U.S.C. § 2333(d),

providing in limited circumstances for a civil remedy against defendants who themselves do not

commit an act of international terrorism but who “aid[] and abet[],” “by knowingly providing

substantial assistance,” a person who commits “an act of international terrorism committed,

planned, or authorized by” a designated FTO (“aiding and abetting” liability).

       For both direct claims under § 2333(a) and aiding-and-abetting claims under § 2333(d), a

plaintiff must plead and establish that his or her injury was “by reason of,” i.e., proximately

caused by, an “act of international terrorism.” The ATA’s definitions section establishes, among

other things, three cumulative requirements for an act to rise to the level of an “act of

international terrorism.” 18 U.S.C. § 2331(1). The act must: (1) be “violent” or “dangerous to

human life;” (2) violate federal or state criminal law (or would do so if committed in the United

States); and (3) “appear to be intended” to “intimidate or coerce a civilian population,”




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“influence the policy of a government by intimidation or coercion,” or “affect the conduct of a

government by mass destruction, assassination, or kidnapping.” 18 U.S.C. § 2331(1)(A)-(B).

The second of these requirements means that a plaintiff, in addition to pleading and establishing

all of the other elements of an ATA civil claim, must also plead and establish that the misconduct

of the defendant (on a direct liability claim) or of the primary actor (on an aiding-and-abetting

liability claim) satisfies all of the elements of a federal or state criminal offense.

        The Complaint’s counts for direct liability under § 2333(a) (Counts 3 and 4) identify two

criminal offenses that every Defendant allegedly committed: material support for terrorism under

18 U.S.C. § 2339A, and financing of terrorism under 18 U.S.C. § 2339C(a)(1)(B). Compl.

¶¶ 637, 644. Section 2339A makes it a crime to provide “material support or resources . . .

knowing or intending that they are to be used in preparation for, or in carrying out” certain

federal terrorism offenses; and § 2339C(a)(1)(B) criminalizes “directly or indirectly, unlawfully

and willfully provid[ing] or collect[ing] funds” with the intent or knowledge that those funds will

be used to carry out terrorist acts against civilians.

        Aiding-and-abetting liability under § 2333(d) is available only with respect to an “act of

international terrorism” that was “committed, planned, or authorized” by a designated FTO, and

only if the plaintiff pleads and establishes that the defendant “aid[ed] and abet[ted], by

knowingly providing substantial assistance, or . . . conspire[d] with the person who committed

such an act of international terrorism.” 18 U.S.C. § 2333(d)(2).

        The ATA imposes a number of exclusions and limitations on civil actions under § 2333.

Most significant here, “[n]o action shall be maintained”—whether direct or secondary—“for

injury or loss by reason of an act of war.” 18 U.S.C. § 2336(a). The statute defines an “act of

war” as




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       any act occurring in the course of -- (A) declared war; (B) armed conflict, whether
       or not war has been declared, between two or more nations; or (C) armed conflict
       between military forces of any origin.

Id. § 2331(4). In addition, the two criminal statutes on which Plaintiffs’ direct liability claims

rest each have their own express limitations, which carry forward to limit those civil claims.

Section 2339A includes an express exception for the provision of “medicine” (even directly to

terrorists). Id. § 2339A(b)(1). And § 2339C(a)(1)(B) applies only to the financing of acts that

are “intended to cause death or serious bodily injury to a civilian, or to any other person not

taking an active part in the hostilities in a situation of armed conflict.” Id. § 2339C(a)(1)(B).

       B.      Plaintiffs’ Causes Of Action

       Each of the 108 Plaintiffs asserts the same five claims against all 21 Defendants. Count

One is brought under the aiding-and-abetting liability provision of the ATA, 18 U.S.C.

§ 2333(d), and alleges that every Defendant aided and abetted every one of the 40-plus attacks

described in the Complaint. Compl. ¶¶ 616-24. Count Two is brought under the same

provision, and alleges that every Defendant aided and abetted a “Jaysh al-Mahdi Campaign” “to

expel Americans from Iraq through crime and anti-American violence.” Id. ¶¶ 625-35. Plaintiffs

further identify general forms of support that Hezbollah allegedly provided to Jaysh al-Mahdi,

which they assert means that Hezbollah “planned or authorized” both the individual attacks from

which Plaintiffs’ injuries arose, and the so-called “Jaysh al-Mahdi Campaign. See, e.g., id.

¶¶ 385-89, 623, 634; see also infra pp. 61-66.

       Counts Three and Four are claims for direct liability under § 2333(a) and allege that

every Defendant itself committed criminal “acts of international terrorism”—by knowingly

providing material support to terrorists, in violation of 18 U.S.C. § 2339A, and willfully

financing terrorists, in violation of 18 U.S.C. § 2339C(a)(1)(B)—that caused all of the Plaintiffs’

injuries. Compl. ¶¶ 636-48. Finally, Count Five asserts against all Defendants state-law claims


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for intentional infliction of emotional distress (“IIED”). Id. ¶¶ 649-54.

       Plaintiffs do not allege that any Defendant knew about, carried out, was present for, or

supplied any weapons or other items used to commit the attacks from which their injuries arose.

Each of Plaintiffs’ claims instead is premised on an extended chain of events that Plaintiffs

contend linked the Defendants’ business dealings with the Ministry of Health to Jaysh al-Mahdi

and then to each of the attacks. The Complaint alleges: (1) Manufacturer Defendants

manufactured medical goods; (2) Supplier Defendants and/or their local Iraqi agents bid on,

negotiated, and won Ministry contracts to supply the medical goods, Compl. ¶¶ 117-18; (3) in

connection with those contracts, Supplier Defendants paid certain corrupt “commissions” or gave

certain quantities of those medical goods free of charge to the Ministry, id. ¶¶ 182, 205, 239,

278, 304; (4) Jaysh al-Mahdi, which had infiltrated the Ministry, stole some of those medical

goods or funds, id. ¶¶ 163-66; (5) Jaysh al-Mahdi sold the stolen medical goods on the black

market, id. ¶¶ 114, 130, 171, 215, 253, 256, 281; (6) Jaysh al-Mahdi used the funds and black-

market proceeds to purchase weapons and otherwise fund preparations to carry out attacks, id.

¶ 8; and (7) Jaysh al-Mahdi then allegedly carried out the attacks, id. ¶¶ 326-39.

                                      LEGAL STANDARD

       On a Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction, Plaintiffs

bear the burden of establishing jurisdiction, and “[i]t is to be presumed that a cause lies outside

[the Court’s] limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,

377 (1994). “Dismissal on the basis that Plaintiffs’ claims present non-justiciable political

questions constitutes a dismissal for lack of subject matter jurisdiction under Rule 12(b)(1).”

Jograj v. Enter. Servs., LLC, No. 1:16-CV-1846-RMC, 2017 WL 3841833, at *5 (D.D.C. Sept.

1, 2017). Where Defendants challenge the factual basis of the Court’s jurisdiction, the Court

“must go beyond the pleadings and resolve any disputed issues of fact.” Lillard & Lillard, 971


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F. Supp. 2d at 118 (quoting Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 40

(D.C. Cir. 2000)).

       To survive a motion to dismiss under Rule 12(b)(6), Plaintiffs must plead sufficient facts

to state a claim that is “‘plausible on its face,’” and cannot rest on mere “possibility” or

allegations that are “merely consistent with” Defendants’ liability. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although

well-pleaded allegations must be accepted as true, the Court need not accept “‘a legal conclusion

couched as a factual allegation.’” Id. Nor must it credit factual allegations contradicted by

documents that the Complaint incorporates by reference or materials subject to judicial notice.

Kaempe v. Myers, 367 F.3d 958, 963 (D.C. Cir. 2004).

                                           ARGUMENT

       At the outset, Plaintiffs’ action should be dismissed because it raises nonjusticiable

political questions at the heart of U.S. foreign policy and national security decisions pertaining to

the war in, and reconstruction of, Iraq. See Part I. But even if this case were justiciable,

Plaintiffs’ claims should be dismissed for numerous reasons. Most comprehensively, the ATA’s

“act of war” exclusion requires dismissal of all Plaintiffs’ ATA claims because each Plaintiff was

injured in the course of “armed conflict” within the meaning of the statute. See Part II.

       In addition, Plaintiffs’ ATA direct liability claims (Counts 3 and 4) fail, both because

Plaintiffs cannot establish that Defendants’ conduct proximately caused Plaintiffs injuries (see

Part III.A) and because they have not alleged the elements necessary to show that any of the

Defendants committed criminal “acts of international terrorism” (see Parts III.B, C). Moreover,

all of the material support claims against the Pharmaceutical Defendants should be dismissed for

the additional reason that they are barred by the medicine exception to 18 U.S.C. § 2339A (see




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Part III.D), and all of the terrorist financing claims arising from attacks on service members

should be dismissed as to all Defendants because the criminal offense underlying that claim, 18

U.S.C. § 2339C, is limited to acts targeting “civilian[s]” or others not involved “in the hostilities

[of the] armed conflict” (see Part III.E).

       All of Plaintiffs’ aiding-and-abetting claims (Counts 1 and 2), in turn, should be

dismissed because Plaintiffs cannot show that any of the attacks at issue were “committed,

planned, or authorized” by an FTO, because they have not alleged that Defendants had

knowledge that an FTO committed, planned, or authorized such attacks, and because

Defendants’ transactions with the Ministry do not amount to “substantial assistance” for

terrorism. See Part IV. Finally, all of Plaintiffs’ state law claims for intentional infliction of

emotional distress (Count 5) should be dismissed both because they are untimely and because

they fail to satisfy the elements of applicable state law. See Part V.

I.     THE COMPLAINT SHOULD BE DISMISSED BECAUSE PLAINTIFFS’
       CLAIMS POSE NONJUSTICIABLE POLITICAL QUESTIONS

       Plaintiffs’ claims raise nonjusticiable political questions implicating foreign policy and

national security decisions by the United States to rebuild, fund, and encourage private sector

business with the Iraqi government, including the Ministry of Health and Kimadia. Plaintiffs’

action also implicates complex judgments by the Executive Branch to engage with the Sadrists as

politically important stakeholders in the Iraqi government, rather than designate them or their

military wing, Jaysh al-Mahdi, as terrorists. Such “‘political decisions . . . are by their nature

committed to the political branches to the exclusion of the judiciary.’” Bancoult v. McNamara,

445 F.3d 427, 432 (D.C. Cir. 2006).

       The Supreme Court has identified at least six situations in which a “political question” is

present, any one of which is sufficient to make a case nonjusticiable. Baker v. Carr, 369 U.S.



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186, 217 (1962).53 Plaintiffs’ lawsuit directly implicates several of these situations. In

particular, judicial examination of Plaintiffs’ claims would be impossible without questioning

“the wisdom of discretionary decisions made by the political branches in the realm of foreign

policy or national security” with respect to war and reconstruction in Iraq, matters that are

textually committed to the President and Congress (the first and fifth Baker factors). El-Shifa

Pharm. Indus. Co. v. United States, 607 F.3d 836, 842 (D.C. Cir. 2010) (en banc). Adjudication

of Plaintiffs’ claims would also risk condemnation of sensitive U.S. foreign policy and national

security decisions and the “embarrassment” of “multifarious pronouncements” by the different

branches (the fourth and sixth Baker factors).

       A.      Plaintiffs’ Claims Ask The Court To Condemn U.S. Policy Governing The
               Funding And Rebuilding Of Iraq And Its Public Health System

       During the period in which Plaintiffs allege Jaysh al-Mahdi controlled the Ministry, it

was the foreign policy of the United States to fund, support, and rebuild the Government of Iraq,

including the Ministry and Kimadia, through (1) direct aid and partnership and (2) promotion of

private sector business with those agencies. Plaintiffs’ claims ask this Court to condemn those

policies by equating support for those government agencies with support for terrorists.

       The U.S. policy of direct support to the Ministry began soon after the regime change,

when the President and Congress concluded that the Ministry was a key strategic partner in the

effort to rebuild Iraq’s public health system. U.S. agencies partnered with the Ministry to train



       53
           These situations are: “[1] [A] textually demonstrable constitutional commitment of the
issue to a coordinate political department; or [2] a lack of judicially discoverable and manageable
standards for resolving it; or [3] the impossibility of deciding without an initial policy
determination of a kind clearly for nonjudicial discretion; or [4] the impossibility of a court’s
undertaking independent resolution without expressing lack of the respect due coordinate
branches of government; or [5] an unusual need for unquestioning adherence to a political
decision already made; or [6] the potentiality of embarrassment from multifarious
pronouncements by various departments on one question.” Baker, 369 U.S. at 217.


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its personnel, provide it with medicines and supplies, and fund its operations. See supra pp. 7-14

(describing U.S. aid to, and partnership with, the Ministry from 2003 through at least 2011). In

December 2003, President Bush personally met with Iraq’s Interim Health Minister to discuss

U.S. support for the Ministry. See supra note 12. In November 2003, Congress appropriated

$793 million for the Ministry and Kimadia and health-related projects in Iraq through 2006.

Indeed, U.S. financial support for the Ministry dwarfed the support that Plaintiffs allege was

provided by Defendants during the same period. Compare Emergency Supplemental

Appropriations Act for Defense & Reconstruction of Iraq & Afghanistan, Pub. L. No. 108-106,

117 Stat. 1209 (Nov. 6, 2003), with Compl. ¶¶ 181-91, 204-15, 240-56, 276-86, 304-12.

       The United States also sought to restore the Iraqi public health system by encouraging

private entities to do business with the Ministry. Following the regime change, the United States

de-designated Iraq and its ministries as state sponsors of terrorism and waived, as to Iraq, the

FSIA’s “terrorism exception” to immunity. These decisions, which also applied to “any agency

or instrumentality of Iraq,” including the Ministry,54 signaled to private firms that it was legal—

indeed, integral to U.S. foreign policy—for them to do business with the Ministry. See supra pp.

10-11. The United States also actively promoted private sector business with the Ministry.

During the years Plaintiffs allege the Ministry was corrupt and controlled by terrorists, the

United States advised companies like Defendants on how to gain Kimadia approval of contracts

and engage in business dealings with the Ministry, and expressly encouraged companies to both

sell and donate to the Ministry millions of dollars’ worth of medicines and medical supplies. See

supra pp. 11-12. In fact, the United States contracted directly with several Defendants to provide




       54
         Waiver of § 1083 of the National Defense Authorization Act for Fiscal Year 2008, 73
Fed. Reg. 6,571 (Jan. 28, 2008).


                                                 28
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medical equipment to Ministry-operated hospitals and clinics. See supra p. 13.

       Despite these U.S. policies, Plaintiffs ask the Court to find that the Ministry was “not a

genuine medical institution,” but was “effectively captured” by Jaysh al-Mahdi during the years

the United States partnered with and funded the Ministry, Compl. ¶¶ 3, 159, and that it was

obvious to all that Jaysh al-Mahdi in turn used Ministry resources to finance its “terrorist”

attacks against U.S. forces, id. ¶ 172. Doing so would be impossible without condemning the

U.S. decision to provide vast operational and financial support to the Ministry. Indeed, if the

Court were to accept Plaintiffs’ theory, it necessarily would follow that the United States itself

had knowingly provided hundreds of millions of dollars to those same “terrorists” who allegedly

controlled the Ministry—and, in doing so (according to Plaintiffs’ theory), caused the deaths and

injuries of scores of U.S. service members. The political question doctrine bars such an

indictment of U.S. foreign policy, precluding the adjudication of theories of liability “‘that would

apply with equal force to the foreign policy and national security determinations made by the

political branches.’” Saldana v. Occidental Petroleum Corp., 774 F.3d 544, 550 (9th Cir. 2014).

Where the United States has funded a foreign entity accused of wrongdoing, holding a private

defendant liable for providing support to the same entity “necessarily requires the judicial branch

to question the political branches’ decision.” Id. at 552 (dismissing on political question grounds

claims against an oil company for killings by a Colombian army unit the company had partially

funded because the United States had also funded the same unit).

       Plaintiffs’ claims also impermissibly impugn the Executive Branch’s policy of promoting

private sector business with the Ministry, inescapably accusing the United States of encouraging

business dealings with known terrorists. See, e.g., Compl. ¶¶ 3-4. The U.S. government, first

through the CPA and then through the Departments of State and Commerce and USAID, urged




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U.S. companies, including the Defendants, to enter into contracts with the Ministry and provide

medicines and medical equipment “to meet the healthcare needs of the Iraqi people.”55 The

Executive’s decisions to de-designate Iraq as a state sponsor of terrorism and to waive the

FSIA’s “terrorism exception”—thereby allowing business to resume with all Iraqi agencies—

were made “in the national security interest of the United States” to “promote the reconstruction

of, the consolidation of democracy in, and the relations of the United States with, Iraq.”56 Such

decisions are quintessentially nonjusticiable foreign policy determinations. See People’s

Mojahedin Org. of Iran v. U.S. Dep’t of State, 182 F.3d 17, 23 (D.C. Cir. 1999) (the national

security judgment embodied in FTO designations is a nonjusticiable political question); see also

Republic of Iraq v. Beaty, 556 U.S. 848, 861-62 (2009) (recognizing President’s authority to

waive terrorism exception to sovereign immunity for Iraq and its agencies).

       So, too, is the U.S. decision to encourage businesses to sell and donate medicines and

medical equipment to the Ministry. Accepting Plaintiffs’ theory—that Defendants’ transactions

with the Ministry amounted to knowing support for “terrorism,” see, e.g., Compl. ¶¶ 103, 112,

116-17, 125, 134—would unavoidably entail “th[e] kind of second-guessing of the policy

decisions of the political branches [that] is precisely what the political-question doctrine

forbids.” Mobarez v. Kerry, 187 F. Supp. 3d 85, 97-98 (D.D.C. 2016). The Ninth Circuit’s

decision in Corrie v. Caterpillar, Inc., 503 F.3d 974 (9th Cir. 2007), makes this clear. There, the

plaintiffs sought damages from a U.S. company that had sold bulldozers to the Israel Defense

Forces (“IDF”), which used the bulldozers to kill or harm the plaintiffs. Id. at 977. The court

dismissed the case as nonjusticiable on political question grounds because the claims



       55
            See supra notes 22, 25-26.
       56
            73 Fed. Reg. 6,571 (Jan. 28, 2008).


                                                  30
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“unavoidably” cast doubt on U.S. policy encouraging private companies’ sale of equipment to

Israel:

          We cannot intrude into our government’s decision to grant military assistance to
          Israel, even indirectly[,] by deciding this challenge to a defense contractor’s sales.
          Plaintiffs’ claims can succeed only if a court ultimately decides that Caterpillar
          should not have sold its bulldozers to the IDF. . . . A court could not find in favor
          of the plaintiffs without implicitly questioning, and even condemning, United
          States foreign policy toward Israel.

Id. at 983-84 (emphases added) (concluding that the suit implicated the first, fourth, fifth, and

sixth Baker factors). The same is true here, where Plaintiffs’ claims could succeed only if the

Court were to conclude—contrary to U.S. policy—that Defendants should not have engaged in

“transactions with [the Ministry].” Compl. ¶ 172. Indeed, the case for dismissal is even stronger

here, where U.S. policy also included hundreds of millions of dollars in direct U.S. funding and

support for the Ministry and the Iraqi public health system.

          It is no answer that Defendants’ support allegedly was part of a “corrupt” scheme. Even

if Plaintiffs’ allegations were true, the ATA draws no distinction between “corrupt” and “non-

corrupt” support; rather, it focuses on whether the support is “material” or “substantial” and

provided with the requisite knowledge or intent with respect to terrorism. See, e.g., 18 U.S.C.

§ 2339A(a); id. § 2333(d)(2). Indeed, Plaintiffs admit their material-support theory is “not

limited to . . . corrupt payments or other FCPA violations,” Compl. ¶ 172, but rather extends to

“contract goods” “legitimately purchased” by the Ministry, all of which they allege were subject

to diversion in support of terrorism, id. ¶ 129. According to Plaintiffs, Defendants are liable

“[w]hether or not” they engaged in corruption, as any “transactions with” the Ministry would

have funded terrorism and had a “causal nexus” to Jaysh al-Mahdi attacks. Id. ¶ 172. Plaintiffs’

claims thus cannot be adjudicated without impugning U.S. foreign policy toward the Ministry.




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       B.        Plaintiffs’ Claims Also Ask The Court To Contradict U.S. Policies Regarding
                 The Sadrists And Jaysh Al-Mahdi

       Plaintiffs’ claims that the Sadrist-controlled Ministry was a front for Jaysh al-Mahdi, and

that Jaysh al-Mahdi (a non-FTO) was a front for Hezbollah (an FTO), also call into question U.S.

policies to work with the Sadrists, to encourage their political participation in the Iraqi

government, and to decline to designate the Sadrists or Jaysh al-Mahdi as FTOs.

       Although Plaintiffs characterize Jaysh al-Mahdi as terrorists, see, e.g., Compl. ¶¶ 1, 340,

344, the State Department, even while designating other Iraqi militant groups and factions as

FTOs, see supra note 49, chose not to designate the Sadrists or Jaysh al-Mahdi. Plaintiffs allege

this was “a “strategic policy decision” that “reflected a political concern among some U.S.

policymakers about the best way to influence” Sadr, “who wielded significant political clout,”

and the Jaysh al-Mahdi militia. Compl. ¶ 344 (emphasis added). That decision also reflected the

policy of the U.S. military with respect to the Sadrists. Jaysh al-Mahdi was plainly a military

force that fought American troops, see infra Part II, yet in an effort to bring an end to sectarian

violence and make space for political reconciliation with the Sadrists, the U.S. military entered

numerous cease-fire agreements with Jaysh al-Mahdi.57

       The U.S. military, as well as diplomatic and intelligence agencies, determined that these

decisions were effective. The State Department’s 2007 terrorism report stated that the

“improved security environment” in Iraq was partly the result of “the declared ceasefire by

Muqtada al-Sadr’s Jaysh al-Mahdi militia” that August,58 and its 2008 report explained that the


       57
          See, e.g., U.S. Nat’l Counterterrorism Ctr., 2007 Report on Terrorism 13 (Apr. 30,
2008) (attributing decreased attacks to “the Mahdi Army’s self-imposed cease-fire”) (Ex. 46);
see also David E. Johnson et al., The 2008 Battle of Sadr City: Reimagining Urban Combat, at
xx (RAND Corp. 2013) (cited at Compl. ¶ 130 n.268) (Ex. 12).
       58
            U.S. Dep’t of State, Country Reports on Terrorism 2007, at 108 (April 2008) (Ex. 47).



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Iraqi government “attributed security gains to . . . decisions by some elements affiliated with

Muqtada al-Sadr’s Jaysh al-Mahdi Army to forego armed action in favor of political activity.”59

Yet Plaintiffs’ lawsuit, premised on treating Jaysh al-Mahdi as a terrorist organization,

necessarily would require this Court, were it to find in Plaintiffs’ favor, to contradict the

Executive Branch’s decisions not to designate the Sadrists and Jaysh al-Mahdi as FTOs and

instead to encourage them to work peacefully through Iraqi institutions.

       The political question doctrine insulates precisely such judgments. See People’s

Mojahedin Org. of Iran, 182 F.3d at 23. Strategic national security and foreign policy

considerations “are delicate, complex, and involve large elements of prophecy,” and therefore

are committed solely to “the domain of political power.” Chicago & S. Air Lines v. Waterman S.

S. Corp., 333 U.S. 103, 111 (1948). That is especially true in zones of armed conflict. Plaintiffs

urge “judicial intrusion [and] inquiry.” Id. Accepting their allegations would risk “international

embarrassment” by “undermin[ing] foreign policy decisions in the sensitive context” of the Iraq

war and reconstruction, Corrie, 503 F.3d at 984, and would present the destabilizing specter of

“multifarious pronouncements by various departments on one question,” Baker, 369 U.S. at 217.

II.    THE ACT OF WAR EXCLUSION BARS ALL OF PLAINTIFFS’ ATA CLAIMS

       The ATA provides that “[n]o action shall be maintained under § 2333 of this title for

injury or loss by reason of an act of war.” 18 U.S.C. § 2336(a). It defines an “act of war” as

       any act occurring in the course of (A) declared war; (B) armed conflict, whether
       or not war has been declared, between two or more nations; or (C) armed conflict
       between military forces of any origin.


       59
          U.S. Dep’t of State, Country Reports on Terrorism 2008, at 116 (April 2009) (Ex. 44);
see also David H. Petraeus, Testimony Before H. Comm. on Armed Servs., 2008 WL 948386
(April 9, 2008) (explaining that al-Sadr’s ceasefire had contributed to a decline in violence);
Dennis C. Blair, Dir. of Nat’l Intelligence, Testimony Before the H. Select Intel. Comm., 2009
WL 459077 (Feb. 25, 2009) (testifying that “most of [al-Sadr’s] militia would set aside their
weapons to become a cultural organization and a counterweight to Western influence”).


                                                  33
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Id. § 2331(4). By the plain terms of the statute, the relevant acts need not occur during a

“declared” war or one waged between nations. Rather, Congress made clear that the exclusion

covers acts occurring “in the course of” an “armed conflict” between “military forces of any

origin.” Id. § 2331(4)(C) (emphasis added). Even a group officially designated as a terrorist

organization—which Jaysh al-Mahdi was not—can be a “military force of any origin” under this

provision. See Kaplan v. Cent. Bank of Islamic Republic of Iran, 961 F. Supp. 2d 185, 204

(D.D.C. 2013) (Lamberth, J.) (holding that Hezbollah rocket attacks against Israeli civilians were

“in the course of . . . armed conflict”). This is consistent with the reality of the post-9/11 era, in

which the U.S. military has fought in armed conflicts against a variety of non-state terrorist and

insurgent groups. Indeed, the Supreme Court has confirmed that “the United States’ war with al-

Qaeda” was an “armed conflict.” Hamdan v. Rumsfeld, 548 U.S. 557, 628-31 (2006).

       There can be no serious dispute that Plaintiffs’ battlefield injuries occurred in the course

of the armed conflict in Iraq that took place from March 2003 through at least August 2010.60

       A.      Iraq Was In A State Of “Armed Conflict” During The Relevant Period

       There is no question that an “armed conflict” within the meaning of the ATA raged in

Iraq during the relevant period. The Iraq War (as it was universally known) commenced in

March 2003, and continued after the fall of Saddam in April 2003 until at least August 2010,

when President Obama formally declared an end to the American “combat mission” in Iraq,



       60
           Courts have taken different views on whether this statutory bar is jurisdictional, see
Kaplan, 961 F. Supp. 2d at 199-200 (summarizing the “confusion”), but the better reading is that
it is, because where the exclusion applies, “[n]o action shall be maintained.” 18 U.S.C.
§ 2336(a); cf. Florida Bankers Ass’n v. U.S. Dep’t of Treasury, 799 F.3d 1065, 1067 & n.1 (D.C.
Cir. 2015) (provision that “no suit” to enjoin collection of a tax “shall be maintained” is
jurisdictional). But even if the Court were to consider the exclusion non-jurisdictional, dismissal
would still be appropriate under Rule 12(b)(6) based on “the facts alleged in the complaint,
documents attached thereto or incorporated therein, and matters of which [the Court] may take
judicial notice.” Stewart, 471 F.3d at 173.


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withdrawing the last combat troops in December 2011. Every branch of the U.S. government

recognized the situation in Iraq to be a “war” or “armed conflict,” including during the 2005-

2009 time period in which the victims in this case were injured or killed.

       Congress authorized the Iraq War in an Authorization for Use of Military Force Against

Iraq, Pub. L. No. 107-243, 116 Stat. 1498 (2002), and that domestic legal authority continued to

be a basis for U.S. military operations long after Saddam’s fall.61 Throughout the entire period

covered by the Complaint, Presidents Bush and Obama complied with their obligation under the

War Powers Resolution to report regularly to Congress while U.S. “armed forces continue to be

engaged in . . . hostilities.” 50 U.S.C. § 1543(c).62 When the Department of Defense issued its

statutorily required reports to Congress on Iraq in 2005 through 2009, it repeatedly confirmed

that the country was in a state of armed conflict.63 And when the Secretary of State annually



       61
          See, e.g., Declaration and Principles: Future U.S. Commitments to Iraq, Joint Hearing
Before the Subcomm. on the Middle East and South Asia and the Subcomm. on Int’l Orgs.,
Human Rights, and Oversight of the H. Comm. on Foreign Affairs, 110th Cong., 2d Sess. 22-23,
38 (2008) (testimony of David Satterfield, Senior Advisor, Coordinator for Iraq, U.S. State
Dep’t) (identifying the AUMF as authority for U.S. “use [of] force on a continuous basis” in
Iraq) (Ex. 48).
       62
          See H. R. Doc. No. 108-175, at 1 (2004) (Ex. 49); H. R. Doc. No. 108-231, at 2 (2004)
(Ex. 50); H. R. Doc. No. 109-30, at 2 (2005) (Ex. 51); H. R. Doc. No. 109-73, at 2 (2005) (Ex.
52); H. R. Doc. No. 109-114, at 2 (2006) (Ex. 53); H. R. Doc. No. 110-5, at 2 (2007) (Ex. 54); H.
R. Doc. No. 110-38, at 2 (2007) (Ex. 55); H. R. Doc. No. 110-81, at 2 (2007) (Ex. 56); H. R.
Doc. No. 110-122, at 2 (2008) (Ex. 57); H. R. Doc. No. 111-61, at 2 (2009) (Ex. 58); H. R. Doc.
No. 111-79, at 2 (2009) (Ex. 59); H. R. Doc. No. 111-122, at 2 (2010) (Ex. 60).
       63
          U.S Dep’t of Def., Report to Congress: Measuring Stability and Security in Iraq iv
(Nov. 4, 2009) (explaining that “U.S. forces continue to focus on combat operations” and that
“U.S. combat and support capabilities continue to play an important role”) (Ex. 61); U.S Dep’t of
Def., Report to Congress: Measuring Stability and Security in Iraq 14 (Mar. 2, 2007) (“conflict”
involved numerous armed groups, with “most attacks continu[ing] to be directed against
Coalition forces”) (Ex. 62); U.S Dep’t of Def., Report to Congress: Measuring Stability and
Security in Iraq 23 (Oct. 13, 2005) (about “80% of all attacks are directed against Coalition
Forces”) (Ex. 63).



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(from 2004 to 2007) wrote to the U.N. Security Council to secure endorsement of Coalition

operations through the end of 2008, Secretaries Powell and Rice explained that Coalition forces

would abide by “the law of armed conflict”—a statement that could only mean the United States

viewed Iraq as continuing to be in a state of armed conflict.64

       As these government actions and the reality on the ground make clear, the armed conflict

in Iraq continued long after Saddam was toppled, the occupation ended, and a new Iraqi

government formed in June 2004. At that stage the armed conflict transitioned from an “armed

conflict . . . between two or more nations,” 18 U.S.C. § 2331(4)(B), to an “armed conflict

between military forces of any origin,” id. § 2331(4)(C). The latter statutory category matches

the international law classification of a “non-international armed conflict.” Hamdan, 548 U.S. at

631 (quoting Int’l Comm. of Red Cross, Commentary on the Additional Protocols to the Geneva

Conventions). Such a non-international armed conflict exists whenever there is “protracted

armed violence between governmental authorities and armed groups.”65 The United States stated


       64
          S.C. Res. 1790, Annex II, Letter dated Dec. 10, 2007 from U.S. Secretary of State to
President of Security Council, U.N. Doc. S/RES/1790 (Dec. 18, 2007) (Ex. 64); S.C. Res. 1723,
Annex II, Letter dated Nov. 17, 2006 from U.S. Secretary of State to President of Security
Council, U.N. Doc. S/RES/1723 (Nov. 28, 2006) (Ex. 65); S.C. Res. 1637, Annex II, Letter
dated Oct. 29, 2005 from U.S. Secretary of State to President of Security Council, U.N. Doc.
S/RES/1637 (Nov. 11, 2005) (Ex. 66); S.C. Res. 1546, Annex, Text of letters from Prime
Minister of Interim Government of Iraq and U.S. Secretary of State to President of Security
Council, U.N. Doc. S/RES/1546 (June 8, 2004) (Ex. 67).
       65
          Op. of Off. of Legal Counsel, U.S. Dep’t of Justice, Re: Applicability of Federal
Criminal Laws and the Constitution to Contemplated Lethal Operations Against Shaykh Anwar
al-Aulaqi at 25 (July 16, 2010) (quoting Prosecutor v. Tadić, Case No. IT-94-1-I, Decision on
Defence Motion for Interlocutory Appeal on Jurisdiction, ¶ 70 (Int’l Crim. Trib. for the former
Yugoslavia Oct. 2, 1995)) (Ex. 68); see also Int’l Comm. of the Red Cross (ICRC), Opinion
Paper, How is the Term “Armed Conflict” Defined in International Humanitarian Law (March
2008), at 3 (a non-international armed conflict exists when “one or more non-governmental
armed groups” with the “capacity to sustain military operations” are involved in “hostilities . . .
of a collective character or when the government is obliged to use military force against the
insurgents, instead of mere police forces”) (Ex. 69).



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in a recent Fourth Circuit brief that “when the United States passed control to an interim Iraqi

government in 2004, ‘the ongoing hostilities became a non-international armed conflict.’”66

And the International Committee of the Red Cross, the international body charged with

monitoring compliance with the Geneva Conventions, likewise concluded in 2004 that

“hostilities in Iraq between armed fighters on one hand opposing the Multinational Force (MNF-

I) and/or the newly established authorities on the other, amount to a non-international armed

conflict.”67

        Presidents Bush and Obama annually characterized the situation in Iraq as a “war” in

their State of the Union Addresses. See George W. Bush, State of the Union Address, 2007 WL

159710 (Jan. 23, 2007) (“Every one of us wishes this war were over and won.”); George W.

Bush, State of the Union Address, 2008 WL 218919 (Jan. 28, 2008) (“[C]oalition and Iraqi

forces have killed or captured hundreds of militia fighters . . . defeating these militia fighters is

critical to the future of [Iraq].”); Barack Obama, Remarks to Joint Session of Congress, 2009 WL


        66
          Suppl. Br. for U.S., United States v. Hamidullin, No. 15-4788, 2017 WL 4163478, at
*6-7 (4th Cir. Sept. 11, 2017) (quoting David Wallace et al., Trying to Make Sense of the
Senseless: Classifying the Syrian War Under the Law of Armed Conflict, 25 Mich. St. Int’l L.
Rev. 555, 584-85 (2017) (emphasis added).
        67
            Int’l Comm. of the Red Cross, Iraq Post 28 June 2004: Protecting Persons Deprived of
Freedom Remains a Priority (Aug. 5, 2004) (Ex. 70). Leading experts on armed conflict,
including Professor Michael Schmitt, a former Army Judge Advocate General lawyer who is
Stockton Professor at the Naval War College, have reached the same conclusion regarding the
armed conflict in Iraq. See, e.g., Michael N. Schmitt, Iraq (2003 Onwards), in Int’l Law and the
Classification of Conflicts 357 (Elizabeth Wilmshurst ed., 2012) (“Since 2003, the conflict in
Iraq . . . has evolved linearly from international armed conflict, through a period of belligerent
occupation, to non-international armed conflict.”) (Ex. 77). The U.S. Coalition partner, the
United Kingdom, is in accord. See KH (Article 15(c) Qualification Directive) Iraq CG [2008]
UKAIT 00023, ¶ 17 (stating the U.K. Government’s view that as of 2008 “Iraq was in a situation
of internal armed conflict”) (Ex. 78); see also Alseran v. Ministry of Defence, 2017 WL
06374962, [2017] EWHC 3289 (QB) (“After the occupation of Iraq ended … on 28 June 2004,
the situation was one of ‘non-international armed conflict’ in which there was fighting, not
between states, but between multi-national armed forces … and organised armed groups.”).



                                                  37
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459901 (Feb. 24, 2009) (“I will soon announce a way forward in Iraq that leaves Iraq to its

people and responsibly ends this war.”); Barack Obama, State of the Union Address, 2010 WL

301960 (Jan. 27, 2010) (“This war is ending, and all of our troops are coming home.”). And

when President Obama announced the timetable for withdrawing U.S. troops from Iraq on

August 31, 2010—after the last attack alleged in the Complaint—he recognized that the

longstanding armed conflict had transformed from a “war to disarm a state” to a “fight against an

insurgency.”68 President Obama stated then that “our troops fought” that insurgency “block by

block,” and that finally, in 2010, “the American combat mission in Iraq has ended.”69

       U.S. courts similarly recognized the existence of an armed conflict in Iraq during the

relevant period. See, e.g., Carmichael v. Kellogg, Brown & Root Servs., Inc., 572 F.3d 1271,

1281 (11th Cir. 2009) (dismissing claims brought by the wife of an Army sergeant injured in Iraq

in May 2004 because the political question doctrine barred “reexamination of many sensitive

judgments and decisions entrusted to the military in a time of war”); Munns v. Clinton, 822 F.

Supp. 2d 1048, 1062 (E.D. Cal. 2011) (dismissing claims by survivors of U.S. civilian security

personnel kidnapped in Iraq in 2008, because courts cannot second guess “the manner in which

the Government responds to the kidnapping of American citizens in a foreign war zone”).

       Finally, the existence of an “armed conflict” is indisputable given Plaintiffs’ own


       68
         White House Off. of Press Sec’y, Remarks by the President in Address to the Nation
on the End of Combat Operations in Iraq, 2010 WL 3415151 (Aug. 31, 2010).
       69
          Id.; see also U.S. Periods of War and Dates of Recent Conflicts, supra note 3, at 8-9
(“On August 31, 2010, President Obama announced that the American combat mission in Iraq
had ended. … On December 15, 2011, U.S. Armed Forces in Baghdad marked the official end of
the war in Iraq .… [T]op U.S. military leaders observed the official end of U.S. Forces Iraq’s
mission after nearly nine years of conflict that claimed the lives of nearly 4,500 U.S. troops.”);
accord U.S. Dep’t of Veterans Affairs, Dates and Names of Conflicts (including among “Recent
Conflicts” the “War in Iraq: Operation Iraqi Freedom (OIF; March 2003—November 2011)
[and] Operation New Dawn (OND; September 2010—December 2011)” (last updated Aug. 24,
2015) (Ex. 71).



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allegations. Plaintiffs describe “an insurgency against U.S. forces,” Compl. ¶ 176, that was

covered by the “laws of war,” id. ¶ 342—which apply only in armed conflict.70 Plaintiffs further

describe hostilities that plainly amount to armed conflict, including armed attacks on military

forces, id. ¶¶ 58, 60, 100-01; “thousands of bombings” and other attacks on military targets using

military weapons, id. ¶¶ 61, 84, 87, 100-01; prolonged military battles, id. ¶¶ 330, 338; and

hundreds of soldiers killed or wounded “in action,” id. ¶ 334. This war, which claimed the lives

of 4,424 U.S. service members and wounded nearly 32,000 more,71 was undeniably an “armed

conflict” within the meaning of the ATA’s act of war exclusion.

       B.        Jaysh Al-Mahdi Was A “Military Force” In The Armed Conflict

       Courts have recognized that the statutory phrase “military forces of any origin,” 18

U.S.C. § 2331(4)(C) (emphasis added), “must include non-national forces,” because other parts

of the definition of “act of war” “already cover[] all armed conflict between nations,” Kaplan,

961 F. Supp. 2d at 201; see also, e.g., Gill v. Arab Bank, PLC, 893 F. Supp. 2d 474, 512

(E.D.N.Y. 2012) (same). Indeed, the phrase “military force of any origin” can include even

designated FTOs, and thus easily encompasses a group like Jaysh al-Mahdi that was not so

designated. See Kaplan, 961 F. Supp. 2d at 204 (concluding Hezbollah acted “as a ‘military

force’” while “engaged in sustained combat with a national military”).

       Plaintiffs’ own allegations establish, despite a conclusory protest to the contrary, see

Compl. ¶ 340, that Jaysh al-Mahdi qualifies as a “military force[] of any origin.” Plaintiffs

allege that Jaysh al-Mahdi—literally “the Mahdi Army” (“Jaysh” being Arabic for “Army”), id.

¶ 3—formed to “fight the American and British occupiers,” with its “primary goal” the


       70
            U.S. Dep’t of Def., Off. of Gen. Counsel, Law of War Manual, at 73 (June 2015) (Ex.
72).
       71
            See OIF U.S. Casualty Status Fatalities, supra note 4.


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“expulsion” of U.S. forces from Iraq, id. ¶ 326. Having described a “conventional military

force” as one that “aim[s]” to “claim or defend territory,” id. ¶ 341, Plaintiffs thus concede that

Jaysh al-Mahdi had exactly that aim. Indeed, they further recognize that Jaysh al-Mahdi “seized

control of large swaths of Iraq, including but not limited to Basra, Amarah, Najaf, Wasit, Kufa,

Nasiriyah, and the entire eastern half of Baghdad,” id. ¶ 60, as well as “key tactical

neighborhoods,” id. ¶ 58. Claiming a “duty to protect the people from the U.S. forces,” id. ¶ 95,

Jaysh al-Mahdi “attack[ed] foreign enemies” from those strongholds, in particular, the “U.S.-led

Coalition forces,” id. ¶ 58. By 2004, Jaysh al-Mahdi had “increased [its] attacks on Americans,”

and by early 2005 it was regularly launching “attacks against Coalition forces throughout Iraq.”

Id. ¶ 60; see also id. ¶ 101 (Jaysh al-Mahdi “waged an insurgency against U.S. forces in Iraq”).

Plaintiffs repeatedly describe Jaysh al-Mahdi as a “militia,” see, e.g., id. ¶¶ 8, 11, 13, 59, 66, 85,

158, 164, 176, which, by definition, is a type of “military force.”72 See also id. ¶ 331 (describing

Jaysh al-Mahdi’s expansion into a “terrorist army with a significant presence throughout Iraq”

(emphasis added)). The Department of Defense agreed, describing “the nature of the conflict” in

Iraq as involving “Shi’a sectarian militias,” including Jaysh al-Mahdi.73

       As the Complaint further alleges, by 2007, Jaysh al-Mahdi had amassed more than

“60,000 fighters,” “operat[ing] throughout Iraq, with regional command centers,” Compl. ¶ 331,

and multiple “brigades,” id. ¶ 60. It employed the command structure of a traditional army,

including “Company-, Battalion-, and Brigade-level commanders,” id. ¶ 100, and functioned as


       72
           See Militia, Oxford English Dictionary (last visited Feb. 2, 2018) (defining “militia” as
“[a] military force that engages in rebel or terrorist activities in opposition to a regular army”);
Militia, Cambridge Dictionary (last visited Feb. 2, 2018) (defining “militia” as “a military force
whose members are trained soldiers but who often have other jobs”).
       73
          U.S. Dep’t of Def., Report to Congress: Measuring Stability and Security in Iraq 16
(Mar. 2, 2007) (Ex. 62).



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“a well-armed, well-trained force of insurgents,”74 with “military headquarters” and regular

“combat operations.”75 Jaysh al-Mahdi commanders even entered into cease-fires with U.S.

forces “to preserve the militia after it took heavy losses.”76

       The Complaint also alleges that Jaysh al-Mahdi engaged in military-style combat against

U.S. forces, using military weapons such as mortars, surface-to-air missiles, rocket-propelled

grenades, and explosively formed penetrators designed to penetrate tank armor. Compl. ¶¶ 333-

38. Jaysh al-Mahdi “mastered several types of attacks that proved especially deadly for U.S.

troops,” “likely kill[ing] more than 500 Americans and wound[ing] thousands more.” Id. ¶ 61.

These attacks spanned years and targeted U.S. military tanks, convoys, helicopters, and bases.

See, e.g., id. ¶¶ 87, 333-38, 385.

       In short, Jaysh al-Mahdi “engaged in sustained combat with a national military force,”

often “initiating[] attack[s] on members of that military force,” “provoking” counterattacks “by

that military,” and “agreeing to . . . cease-fire[s].” Kaplan, 961 F. Supp. 2d at 204. It was

therefore acting as a “military force” in the ongoing “armed conflict” in Iraq.

       C.        The Attacks At Issue Occurred “In The Course Of” Armed Conflict

       Finally, the attacks that are alleged to have injured Plaintiffs occurred “in the course of”

this armed conflict. Courts have recognized attacks as occurring in the course of armed conflict

when they take place in a “combat or militarized zone,”77 are “targeted at military or


       74
          Nimrod Raphaeli, Understanding Muqtada al-Sadr, Middle East Quarterly 8 (Fall
2004) (cited at Compl. ¶ 59 n.18) (Ex. 7).
       75
            See, e.g., Endgame, supra note 10, at 67 (cited at Compl. ¶ 59 n.19).
       76
            See id. at 73. See also id. at 424-25.
       77
          Sokolow v. Palestine Liberation Org., 583 F. Supp. 2d 451, 459 (S.D.N.Y. 2008)
(declining to apply act of war exclusion where civilians targeted outside a military zone, but
suggesting act of war exclusion may apply where “the situs of the attacks [are] in any combat or



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governmental personnel or interests,”78 involve “friendly fire” accidents following a cease-fire,79

or involve military weapons in the context of a discrete conflict.80 It is evident from the face of

the Complaint that Plaintiffs’ injuries—alleged to have resulted from Jaysh al-Mahdi’s direct

targeting of U.S. Armed Forces—occurred in the course of the armed conflict in Iraq.

       Every victim is alleged to have been killed or injured in or near areas that Plaintiffs

describe as zones of active hostilities—Sadr City, other parts of Baghdad, or Basra. See

generally Compl. ¶¶ 391-615; see also id. ¶ 385. And far from “non-combatant civilians” “going

about their everyday lives,” Sokolow, 583 F. Supp. 2d at 459, each victim was an active-duty

U.S. service member or a military contractor accompanying U.S. forces as part of the U.S. war

effort. Compl. ¶¶ 390-615. Most were active members of the U.S. Army or Marine Corps

deployed to Iraq in combat roles (and/or were embedded with combat battalions), many serving

in units whose combat mission was to fight “insurgents” like Jaysh al-Mahdi.81 In fact, 17 of the

victims were members of the Army unit “2-16 Rangers,” which was principally “tasked with

fighting . . . Jaysh al-Mahdi.” Id. ¶ 391 (emphasis added); see also id. ¶ 451 (alleging that the

mission of Specialist Jimmy Connolly’s company also was to “fight Jaysh al-Mahdi”).

       Others likewise served in combat units, Compl. ¶¶ 395, 482, 515, 557, 572, 582, 608, or




militarized zone”).
       78
            Id.
       79
          Stutts v. De Dietrich Grp., No. 03-CV-4058, 2006 WL 1867060, at *1, 4 (E.D.N.Y.
June 30, 2006) (applying “act of war” exclusion to injuries suffered by U.S. service members and
contractors exposed to “friendly fire” when Coalition forces detonated Saddam’s chemical
weapons stockpile; court rejected the view that the injuries “just happen[ed] to occur during
wartime,” and concluded they occurred “in the course of” armed conflict).
       80
            Kaplan, 961 F. Supp. 2d at 203.
       81
          Compl. ¶¶ 391, 395, 400, 402, 407, 410, 441, 449, 463, 468, 477, 482, 497, 500, 509,
512, 515, 521, 523, 529, 534, 543, 547, 550, 552, 557, 572, 582, 591, 599, 606, 608, 613.


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as combat medics or engineers embedded with combat forces, id. ¶¶ 449, 497, 523. The seven

contractors were also embedded with combat units, stationed in combat zones, and/or

participating in the war effort in Iraq. They provided security for areas used by U.S. military

forces and for the disposal of captured weapons, id. ¶¶ 431, 455, 472, 564, and generally

operated in zones of active fighting, id. ¶¶ 488-89, 491-92, 503-04.

       The difficult line-drawing question courts have faced under the act of war exclusion is

whether—unlike here—wartime attacks targeting civilians outside of combat zones can be said to

occur “in the course of” an armed conflict. Compare Sokolow, 583 F. Supp. 2d at 459 (attack on,

e.g., university cafeteria in Jerusalem not an “act of war”),82 with Kaplan, 961 F. Supp. 2d at

203-04 (“act of war” exclusion applies to Hezbollah rocket attacks on civilians). But the attacks

in this case—targeting U.S. military forces in an active war zone—are far from that line, and

constitute paradigmatic acts “in the course of” armed conflict.

III.   PLAINTIFFS’ CLAIMS THAT DEFENDANTS ARE LIABLE FOR DIRECTLY
       COMMITTING ACTS OF INTERNATIONAL TERRORISM FAIL ON
       NUMEROUS GROUNDS

       Plaintiffs’ direct liability claims allege that Defendants themselves committed acts of

international terrorism (specifically, material support for terrorism and financing of terrorism) by

selling and donating medicine and medical equipment to the Iraqi Ministry of Health. Section

2333(a), on which these counts are based, requires Plaintiffs to plead and prove that they were

injured “by reason of” an “act of international terrorism” committed by Defendants. Under

settled case law and the ATA’s definition of “international terrorism,” 18 U.S.C. § 2331(1), this


       82
          See also Estate of Klieman v. Palestinian Auth., 424 F. Supp. 2d 153, 166-67 (D.D.C.
2006) (attack on civilian public buses not an act of war); Biton v. Palestinian Interim Self-Gov’t
Auth., 412 F. Supp. 2d 1, 10-11 (D.D.C. 2005) (attack on school buses carrying students and
teachers not an act of war). Compare Gill, 983 F. Supp. 2d at 514 (explaining that the limiting
interpretation of “in the course of” adopted by these courts presents “a number of problems”).


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means, among other things, that Defendants’ conduct must (1) have proximately caused

Plaintiffs’ injuries, (2) objectively appear to have been intended to achieve certain specified

terroristic purposes, and (3) have violated a federal or state criminal law. See supra 21-22.

Plaintiffs’ implausible theory fails at every step due to the highly attenuated causal chain that

strains to link Defendants’ commercial transactions to Jaysh al-Mahdi’s attacks; Plaintiffs’ own

allegations of Defendants’ non-terroristic motives for their dealings with the Ministry; the

absence of any reasonable inference that Defendants must have known that a U.S. government-

supported foreign Ministry was a “de facto terrorist group”; and application of two separate

express statutory limitations in the predicate offenses Plaintiffs invoke.

       A.      Plaintiffs Allege An Indirect And Highly Attenuated Causal Chain That Fails
               To Satisfy The ATA’s Proximate Cause Requirement

       Defendants supplied life-saving medicine and medical equipment to the Iraqi Ministry of

Health—a government agency with legitimate health care responsibilities and operations

nationwide. Only after completing such transactions did Jaysh al-Mahdi agents within the

Ministry allegedly “misappropriat[e]” some of the goods, Compl. ¶ 106, sell them on the black

market, and then use the proceeds to fund attacks like those that tragically injured Plaintiffs.

Taking Plaintiffs’ well-pleaded allegations as true (only for purposes of this motion), at most

those allegations present an indirect and attenuated causal chain that does not satisfy the ATA’s

“traditionally rigorous proximate cause requirement.” Shatsky v. Palestine Liberation Org., No.

02-cv-2280, 2017 WL 2666111, at *7 (D.D.C. June 20, 2017) (Leon, J.).

       The touchstone for proximate cause is directness. See Siegel v. SEC, 592 F.3d 147, 159

(D.C. Cir. 2010) (“‘[P]roximate causation’ . . . is normally understood to require a direct relation

between conduct alleged and injury asserted.”); Rothstein v. UBS AG, 708 F.3d 82, 91-92 (2d

Cir. 2013) (The “‘central question’” for proximate causation “‘is whether the alleged violation



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led directly to the plaintiff’s injuries.’”). The Supreme Court has repeatedly explained that a

plaintiff can satisfy the statutory “by reason of” standard only if he can show “some direct

relation between the injury asserted and the injurious conduct alleged.” Holmes v. Sec. Inv’r

Prot. Corp., 503 U.S. 258, 268 (1992) (emphasis added); see also id. at 269. As the Ninth

Circuit recently held, the ATA is no exception: Section 2333(a)’s “‘by reason of’ requirement”

demands, at a minimum, a showing of “some direct relationship” between the plaintiff’s injuries

and the defendant’s alleged acts. Fields v. Twitter, Inc., __ F.3d __, 2018 WL 626800, at *4 (9th

Cir. Jan. 31, 2018) (affirming dismissal of ATA claim for failure to adequately plead proximate

cause).83 Put simply, the ATA adheres to the general rule that “foreseeability alone is not

sufficient to establish proximate cause” under a federal statute. Bank of Am. Corp. v. City of

Miami, 137 S. Ct. 1296, 1305 (2017); see also Fields, 2018 WL 626800, at *6-7. Thus, a

defendant may be liable only where a plaintiff’s injury “is reasonably foreseeable or anticipated

as a natural consequence of the [defendant’s] actions,” and where those actions are a “substantial

factor in the sequence of responsible causation.” Rothstein, 708 F.3d at 91; Shatsky, 2017 WL

2666111, at *7 (emphasis added).

       Because of this “direct relationship requirement,” courts reject claims that “stretch[] the

causal chain” connecting a defendant’s conduct to plaintiff’s injury “well beyond the first step.”

See Hemi Grp., LLC v. City of New York, 559 U.S. 1, 10-11 (2010). Thus, where an ATA

defendant is alleged to have provided resources to a foreign intermediary with legitimate


       83
          Congress borrowed the ATA’s “by reason of” language from the Sherman Act, 26 Stat.
210 (1890), the Clayton Act, 15 U.S.C. § 15(a) (2017), and RICO, 18 U.S.C. § 1964(c) (2011).
Because “Congress ‘used the same words’ when it enacted the ATA . . . ‘we can only assume it
intended them to have the same meaning.’” Shatsky, 2017 WL 2666111, at *7 (quoting Holmes,
503 U.S. at 268); see also Fields, 2018 WL 626800, at *4 (same), *5 (explaining that the
“reasons that compelled the Holmes Court to adopt the Clayton Act’s ‘some direct relation’
requirement in the RICO context” apply equally “in the context of the ATA”).


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operations (such as an agency of a foreign sovereign), which in turn allegedly provided those

resources to a terrorist organization, the allegations are “insufficient for proximate causation

purposes.” In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 118, 124 (2d Cir. 2013); see also,

e.g., Rothstein, 708 F.3d at 97; Owens v. BNP Paribas, SA, 235 F. Supp. 3d 85, 97-99 (D.D.C.

2017). Courts have enforced this line even where (unlike this case) the alleged intermediary is a

state sponsor of terrorism, and the defendant allegedly provided it access to large sums of money

(rather than medical goods). These decisions reason that such governments are “not simply a

funnel to provide money to terrorists,” but also “use[] the funds” for “legitimate purposes.”

Owens, 235 F. Supp. 3d at 97.

       Cases involving state sponsors of terrorism are instructive in comparison to this case,

which involves the provision of medicine and medical equipment to a health ministry. In

Rothstein, terror victims argued that UBS was liable under the ATA because its banking services

“provided Iran with hundreds of millions of dollars,” alleging that UBS “knew full well that the

cash dollars it was providing . . . would be used to cause and facilitate terrorist attacks by

Iranian-sponsored terrorist organizations.” 708 F.3d at 93, 97 (emphasis omitted). The Second

Circuit affirmed the dismissal of the ATA claim because those allegations were too attenuated to

show that UBS’s actions had “led directly to” the plaintiffs’ injuries. Id. at 92. In particular,

Plaintiffs had not alleged that UBS participated in the terrorist attacks or transferred money

directly to Hezbollah or Hamas, or that “Iran, with its billions of dollars in reserve, would not

have funded the attacks” without UBS’s services. Rothstein, 708 F.3d at 97. And while Iran’s

status as a state sponsor of terrorism “made it more likely that the moneys” UBS provided to Iran

“would be used for terrorism,” the court concluded that “the fact remains that Iran is a

government, and as such it has many legitimate agencies, operations, and programs to fund.” Id.




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A recent decision in this District applied Rothstein to dismiss ATA claims because a bank’s

processing of funds for Sudan—a state sponsor of terror, but still a government with legitimate

operations to fund—was “not the same as processing funds for” al Qaeda. Ofisi v. BNP Paribas,

S.A., __ F. Supp. 3d __, 2017 WL 4355922, at *7-9 (D.D.C. Sept. 29, 2017), vacated in part on

other grounds, 2018 WL 385408 (D.D.C. Jan. 11, 2018).

       As in Rothstein and Ofisi, Plaintiffs here claim that a government entity was in league

with terrorists, and that doing business with the government eventually benefitted the terrorists.

But by Plaintiffs’ own account, Defendants transacted with only the Ministry and its import arm,

Kimadia, not with terrorists. See, e.g., Compl. ¶¶ 182, 240, 278, 305. Plaintiffs allege that

members of Jaysh al-Mahdi had “infiltrate[d]” and “effectively captured” the Ministry, id.

¶¶ 159, 161, but “the fact remains that [the Ministry] is a government [agency]”—one that the

United States openly and vigorously supported—“and as such it ha[d] many legitimate . . .

operations[] and programs.” Rothstein, 708 F.3d at 97; accord Ofisi, 2017 WL 4355922, at *9.

Defendants are thus “removed from the acts that caused the [P]laintiffs’ injuries, separated by a

[government entity] . . . that may well have used [Defendants’ medicines and medical

equipment] for any number of legitimate purposes.” Owens, 235 F. Supp. 3d at 97.

       Indeed, many intervening acts and actors separate Defendants’ alleged conduct from the

attacks that injured Plaintiffs. According to Plaintiffs’ theory: (1) the Supplier Defendants

(and/or their local Iraqi agents) received Ministry of Health contracts allegedly through

corruption, see, e.g., Compl. ¶ 4; (2) pursuant to those contracts, the Suppliers sold

pharmaceuticals and medical devices, and allegedly gave certain quantities of those medicines

and supplies free of charge, to the Ministry, id. ¶ 5; (3) Jaysh al-Mahdi agents within the

Ministry allegedly “stole” or “funneled” those goods to the Jaysh al-Mahdi militia, id. ¶¶ 105,




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163-66; (4) Jaysh al-Mahdi members allegedly sold Defendants’ breast cancer drugs, hemophilia

medication, MRI machines, and catheters, among other things, id. ¶¶ 220, 241, 284, 306, on the

black market, id. ¶ 8; (5) Jaysh al-Mahdi leaders allegedly used the proceeds of those sales to

purchase weapons and otherwise fund attacks, id.; and (6) Jaysh al-Mahdi agents then committed

the alleged acts of terrorism, id. ¶ 390. Even accepting Plaintiffs’ conclusory allegations that the

Suppliers also paid Ministry officials cash bribes (but see infra pp. 57-58) would do little to

shorten this lengthy chain, still leaving Plaintiffs’ allegations far short of the necessary “direct

relation between the injury asserted and the injurious conduct alleged.” Holmes, 503 U.S. at 268.

       This highly attenuated causal chain highlights the lack of any limiting principle. If

accepted, Plaintiffs’ theory of causation would mean that any entity that did business with or

provided medical aid, even indirectly, to the Ministry of Health during the relevant period—

including the U.S. government, the United Nations, and the World Health Organization—also

proximately caused the Jaysh al-Mahdi attacks. See, e.g., Compl. ¶ 129 (alleging that even

“legitimately purchased” goods were diverted); id. ¶ 172 (explaining that “the causal nexus”

alleged is “not limited to . . . corrupt payments or other FCPA violations”). Yet the very purpose

of the proximate-cause requirement is to “bar[] suits for alleged harm that is ‘too remote’ from

the defendant’s [allegedly] unlawful conduct.” Lexmark Int’l, Inc. v. Static Control Components,

Inc., 134 S. Ct. 1377, 1390 (2014). And here—even setting aside the Ministry’s critical,

interrupting role in the causal chain—“[a]t most, the [Complaint] establishes that [Defendants’]

alleged provision of material support to [Jaysh al-Mahdi] facilitated the organization’s growth

and ability to plan and execute terrorist acts[; it] does not articulate any connection between

[Defendants’] provision of this aid and [Plaintiffs’] injuries.” Fields, 2018 WL 626800, at *8.

       Additional deficiencies underscore Plaintiffs’ failure to satisfy the ATA’s direct-relation




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requirement. Plaintiffs do not allege, of course, that Defendants participated in the attacks that

injured Plaintiffs. See, e.g., Ofisi, 2017 WL 4355922, at *9. Nor is it plausible, under Plaintiffs’

own allegations, that Defendants’ alleged sales and donations constituted a “substantial factor” in

causing the attacks. Shatsky, 2017 WL 2666111, at *7. After all, Defendants’ claimed

contributions pale in comparison to the Ministry’s massive procurement budget, which was

allegedly “looted” thoroughly by Jaysh al-Mahdi. See Compl. ¶¶ 3, 113, 135, 191, 215, 256,

286, 312. Compare Rothstein, 708 F.3d at 97 (even if defendant bank “had not transferred U.S.

currency to Iran, Iran, with its billions of dollars in reserve, would . . . have funded the attacks”).

During the relevant period, Jaysh al-Mahdi allegedly also “fully commandeered” at least three

other Iraqi government agencies, diverting their substantial resources to its agenda. Compl.

¶ 166; see also id. ¶¶ 64, 67. And while Plaintiffs’ theory is that Defendants’ sales “helped the

militia buy weapons,” id. ¶ 8, they allege that Iran and its proxies purchased and “provided many

of the weapons” used by Jaysh al-Mahdi. See Id. ¶¶ 386-88.84

       Plaintiffs’ allegations about the Manufacturer Defendants present an even more indirect

causal chain. Aside from “registering to do business as [] manufacturer[s]” and “submitting

paperwork” confirming that the Suppliers were authorized to sell their products, see, e.g., Compl.

¶¶ 152, 187, the Manufacturers are not alleged to have had any direct connection to the Ministry,

much less to Jaysh al-Mahdi. Instead, Plaintiffs allege, without any factual support, that the

Suppliers acted as the Manufacturers’ “agent(s).” Id. ¶¶ 186, 213, 243, 250, 282, 308. Such bare

allegations of agency state a legal conclusion entitled to no weight on a motion to dismiss. See,




       84
           See also U.S. Dep’t of Treasury, Treasury Designates Individual, Entity Posing Threat
to Stability in Iraq (July 2, 2009) (cited at Compl. ¶ 359 n.313) (Ex. 13) (explaining how Iran
organized and directed supplies of weapons and ammunition to Jaysh al-Mahdi to target
Coalition forces).


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e.g., Acosta Orellana v. CropLife Int’l, 711 F. Supp. 2d 81, 111-12 (D.D.C. 2010) (dismissing

claims based on an agency theory where plaintiffs offered only conclusory allegations that the

principal had the right to control the agent). All that remains, then, are Plaintiffs’ allegations that

the Manufacturers manufactured medicines or medical devices that someone else in turn

allegedly sold to the Ministry and “used to bribe” Kimadia officials. See, e.g., Compl. ¶¶ 181,

239, 276, 304. The conduct of manufacturing—a routine commercial activity several steps

removed from any alleged wrongdoing—even more clearly fails the proximate cause test and

cannot give rise to liability under the statute. See In re Terrorist Attacks, 714 F.3d at 124 (the

provision of “routine banking services to organizations and individuals said to be affiliated with

al Qaeda” cannot be said to have “proximately caused” plaintiffs’ injuries).

       B.      Defendants’ Alleged Actions Did Not Objectively “Appear To Be Intended”
               To Intimidate A Civilian Population Or To Coerce Government Policy

       The Complaint also fails to establish that Defendants themselves committed an “act of

international terrorism,” as required for direct liability under the ATA. Defendants cannot have

committed “an act of international terrorism” unless (among other things) their own actions

objectively “appear to be intended” to “intimidate or coerce a civilian population,” “influence the

policy of a government by intimidation or coercion,” or “affect the conduct of a government by

mass destruction, assassination, or kidnapping.” 18 U.S.C. § 2331(1)(B); see also Weiss v. Nat’l

Westminster Bank PLC, 768 F.3d 202, 207 n.6 (2d Cir. 2014). The notion that Defendants—

reputable corporations from five separate corporate families—each intended to achieve such

extreme terrorist objectives by selling medical goods to a sovereign country’s health ministry,

even corruptly, is implausible on its face. Nowhere does the Complaint plead the facts necessary

to “lead an objective observer to conclude Defendants intended to achieve” the coercion or

intimidation objectives enumerated in the ATA. Stansell v. BGP, Inc., No. 8:09-cv-2501, 2011



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WL 1296881, at *9 (M.D. Fla. Mar. 31, 2011); see also Weiss, 768 F.3d at 207 n.6 (statute

creates “an objective standard to recognize the apparent intentions of actions”).

       An objective observer would recognize that Defendants’ contracts with the Ministry and

Kimadia—and any allegedly corrupt donations or payments made to secure those contracts—

were intended to increase sales of the companies’ medicines and medical equipment, not to

intimidate civilians or coerce governments through acts of terrorism. Indeed, the Second Circuit

considered a similar claim that corrupt oil-for-food dealings facilitated Iraqi human rights

violations, and found it implausible to think that a major, multinational corporation “intend[ed]”

its allegedly corrupt transactions to “assist[]” Saddam’s “torture and abuse of Iraqi persons.”

Mastafa v. Chevron Corp., 770 F.3d 170, 194 (2d Cir. 2014); see also Brill v. Chevron Corp.,

No. 15-cv-04916, 2017 WL 76894, at *1, *4 (N.D. Cal. Jan. 9, 2017) (dismissing ATA claim

because allegedly corrupt oil-for-food transactions, which allegedly helped Saddam finance

terrorism, did not appear to be intended to intimidate or coerce).

       The Complaint itself describes Defendants as having commercial motives. Plaintiffs

allege that the “post-Saddam Iraqi healthcare market . . . was generally perceived to be on the

verge of rapid growth” and that “Defendants engaged in transactions structured to provide

financial support to Jaysh al-Mahdi” “[i]n an effort to grow their market share in Iraq.” Compl.

¶¶ 111-12. They state that the growing Iraqi market was a “motive for Defendants to engage in

corrupt transactions” with the Ministry. Id. ¶ 113; see also id. ¶¶ 206-07 (corrupt payments were

allegedly part of Defendants’ “business strategy” for “the Middle East market in general and Iraq

in particular”). These allegations contradict Plaintiffs’ conclusory assertions of appearance of

terroristic intent: they demonstrate that Defendants’ apparent motive (again, accepting the

allegations as true) was to do more business in Iraq, not to intimidate civilians or coerce




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governments. See Stansell, 2011 WL 1296881, at *9 (rejecting “conclusory” allegation that

payments to terrorists “appear to be intended to achieve” terroristic objectives, because it was

“contradict[ed]” by the allegation that defendants made the payments “‘in exchange for the

[terrorists’] agreement to allow [Defendants] to conduct [their] oil exploration activities’”).85

       This defect is all the more glaring with respect to the Manufacturer Defendants. No

objective observer would conclude that manufacturing medical goods to be resold by distributors

to customers around the world exhibits a purpose to intimidate civilians or coerce governments.

See, e.g., Stutts, 2006 WL 1867060, at *2 (“engaging in commercial banking activity” with

suppliers of chemicals to Iraq was not “designed to coerce civilians or government entities as

required under § 2331”).

       C.      Plaintiffs Cannot Satisfy The Scienter Elements Of The Alleged Predicate
               Crimes On Which Their Direct Liability ATA Claims Are Based

       Plaintiffs also fail to plausibly allege the scienter required to violate the federal criminal

statutes underlying their direct liability claims. The two predicate offenses that Plaintiffs attempt

to plead—material support and financing of terrorism—require that the defendant “know[]” or

“intend[]” that its support is to be used for terrorist attacks. See 18 U.S.C. §§ 2339A, 2339C.




       85
           The Complaint further contradicts its claim that Defendants objectively appear to have
had terroristic aims by alleging that Defendants made similar payments to officials in countries
ranging from China and Indonesia to Greece, Poland, and Romania. See Compl. ¶¶ 195 & n.167,
268 & n.224, 287-88. Jaysh al-Mahdi had no presence in those countries, and Defendants are not
alleged to have had any terroristic intent in making those payments. Even in Iraq, Plaintiffs
allege that Defendants paid “kickbacks” to the Ministry long before Jaysh al-Mahdi existed or
U.S. forces entered Iraq, see id. ¶¶ 4, 7, 44-53, 113, 193, 216-22, 257-65, 313-14, and provided
“free” goods for years after the Sadrists lost their claimed control of the Ministry, see id. ¶¶ 102,
195, 266, 290, 315. For all of these reasons, an objective observer would not conclude that
Defendants’ alleged business practices reflected any intent to advance Jaysh al-Mahdi’s alleged
terrorist goals.



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Knowledge requires at least a showing of “criminal recklessness,”86 which permits liability “only

when a person disregards a risk of harm of which he is aware.” Boim v. Holy Land Found. for

Relief & Dev., 549 F.3d 685, 693-94 (7th Cir. 2008) (en banc) (emphasis added).

        Plaintiffs do not suggest that Defendants intended to provide material support or to

finance terrorism. They assert, however, that Defendants “knew or recklessly disregarded” that

their transactions with the Ministry financed terrorism. Compl. ¶ 173. This claim purports to be

based not on specific allegations of what Defendants actually knew, but rather on news articles

that, according to the Complaint, “reported on the direct link between [the Ministry] and Jaysh

al-Mahdi.” Id. ¶ 176. Plaintiffs’ theory is that information in the public domain should have

alerted Defendants that transactions with the Ministry were supplying Jaysh al-Mahdi, and that

Jaysh al-Mahdi was using the resulting funds to attack Americans. See id. ¶¶ 176-80.

        Although the Complaint includes allegations that such news reports existed, those

allegations are insufficient if they do not “‘state a claim to relief that is plausible on its face,’” by

“allow[ing] the court to draw the reasonable inference [from the facts alleged] that the defendant

is liable.” Iqbal, 556 U.S. at 678. In deciding whether it is plausible to infer knowledge or

criminal recklessness based on what was allegedly “widely understood” and “reported,” Compl.

¶¶ 175-76, the full body of publicly available information is relevant. The Court is not limited to

Plaintiffs’ selection of press reports, but may take judicial notice of other materials that “indicate

what was in the public realm at the time.” Benak v. Alliance Cap. Mgmt. L.P., 435 F.3d 396, 401

n.15 (3d Cir. 2006) (taking judicial notice of newspaper articles “not [for] the[ir] contents” but to



        86
         Defendants do not concede that criminal recklessness suffices to establish knowledge
under §§ 2339A and 2339C, but the Court need not address that issue because Plaintiffs’ well-
pleaded allegations, taken as true for this motion, do not establish that Defendants criminally
disregarded a risk of which they were aware.


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evaluate whether a party should be charged with notice).

       Although Plaintiffs selectively highlight reports that allege a close link between the

Ministry and Jaysh al-Mahdi, see Compl. ¶¶ 175-80, their own allegations and sources reveal

that the contemporaneous public record was far more confused and changed over time. It was

members of the Sadrist political wing—not Jaysh al-Mahdi—that the Iraqi parliament appointed

to run the Ministry. See id. ¶¶ 58, 62-72. And although the Sadrists were no doubt problematic,

Defendants could not have known that the entire Ministry was “not a genuine medical institution

. . . [but] a de facto terrorist group.” Id. ¶ 3. It was customary in Iraq to build parliamentary

coalitions by dividing ministries among political parties and for those parties to use the ministries

to help their constituents. See id. ¶¶ 64, 67. According to one article Plaintiffs quote, Sadr

“capitalized” on his control over the Ministry “to provide services to the poor and jobs to his

followers.” Id. ¶ 176 (tenth bullet) (quoting Newsweek). Reports that Jaysh al-Mahdi engaged in

“theft or misappropriation” and “smuggled” goods out of the Ministry, see id. ¶¶ 165-66, 170-71

& n.129, undercut the assertion that there was no “meaningful distinction” between the Ministry

and the militia. And even assuming Defendants were aware that Jaysh al-Mahdi agents held

powerful positions in the Ministry, it does not follow that this fact should have prevented them

from doing business with the Ministry. The United States declined to designate either the

Sadrists or Jaysh al-Mahdi as terrorist organizations, see id. ¶ 344, and General Petraeus testified

to Congress that “mainstream Jaysh al-Mahdi” had “the right . . . to participate in the political

process.”87

       Throughout the relevant period, there was one clear, constant signal: the open support

and funding of the Ministry by the United States and reputable international organizations. See


       87
            Iraq: The Crocker-Petraeus Report, supra note 36, at 101.


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supra pp. 7-14. Throughout this period, the United States made massive investments in the

Ministry. See supra pp. 7-10. In 2007, the World Health Organization announced completion of

a multi-million-dollar drug control and research center built in partnership with the Ministry.88

And the United States facilitated the sale of medicine and medical equipment to this alleged

terrorist entity, even providing guidance to businesses on how to participate in Kimadia’s

procurement process.89 This support and facilitation continued even as the United States

recognized corruption problems within the Ministry and worked with Iraqi authorities to root it

out, and even while U.S.-led forces continued to engage in armed conflict with Jaysh al-Mahdi.

See supra pp. 13-14. Based on the full record available to Defendants at the time, it is

implausible to infer that Defendants knew, or criminally disregarded, that U.S.-encouraged

transactions with a U.S.-supported Ministry were part of an elaborate scheme to target U.S.

soldiers.

        Plaintiffs’ sole attempt to rely on something other than the public record fails for similar

reasons. Plaintiffs allege that local agents of the Supplier (but not Manufacturer) Defendants

visited Ministry headquarters, where they would have “walked past multiple posters adorned

with Sadrist pictures” and seen weapons. Compl. ¶ 173. These allegations do not support a



        88
         E.g., World Health Org., Assuring quality medicines for the people of Iraq (May 8,
2007) (Ex. 73).
        89
          See, e.g., USAID, Iraq Private Sector Growth and Employment Generation:
Pharmaceutical and Medical Products in Iraq, at 49-53 (Apr. 17, 2007) (cited at Compl. ¶ 127
n.88) (Ex. 5); U.S. Commercial Serv., Doing Business in Iraq (2013) (cited at Compl. ¶ 124
n.85) (Ex. 4) (pp. 3-7 of excerpt); U.S. Commercial Serv., Doing Business in Iraq, at 34 (2012)
(Ex. 33) (pp. 3-7 of excerpt). See also U.S. Commercial Serv., Doing Business in Iraq, at 12
(2009) (advising firms selling products in Iraq work through PhRMA) (Ex. 35) (p. 6 of excerpt);
USAID, Investor Guide of Baghdad, at 40 (Nov. 2011) (Ex. 36) (identifying the health sector as
an “investment opportunity”); U.S. Dep’t of Commerce, Business Guide for Iraq at 3-5 (2004)
(Ex. 34) (describing healthcare as a “[s]pecific sector of interest” for USAID contracting).



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plausible inference that Defendants knew their transactions with a U.S.-supported Ministry were

supporting terrorism against Americans. Sadrist pictures and slogans would hardly have been

remarkable at a Ministry officially assigned to the Sadrist party as part of the “political process”

General Petraeus referenced. Nor would weapons have seemed out of place at a ministry whose

officials and headquarters were widely reported targets of Sunni insurgents in Iraq’s ongoing

sectarian war.90 Considered in light of all of the publicly available information about the

Ministry, including continued U.S. support for it, these allegations do not “nudge[]” Plaintiffs’

claims of knowledge “across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

       D.      The Medicine Exception To 18 U.S.C. § 2339A Requires Dismissal Of The
               Material Support Claim Against The Pharmaceutical Defendants

       Plaintiffs’ material support claim (Count 3) fails as to the Pharmaceutical Defendants—

i.e., those who manufactured or supplied medicine91—for yet another reason: the ATA’s

definition of “material support” excludes “medicine,” which is the only form of support these

Defendants are plausibly alleged to have provided. See 18 U.S.C. § 2339A(b)(1).

       The exception, as every court to consider it has confirmed, categorically permits the

supply of “medical substances and preparations.” United States v. Farhane, 634 F.3d 127, 143

(2d Cir. 2011) (considering the issue under § 2339B, which incorporates § 2339A’s definition of

“material support,” see 18 U.S.C. § 2339B(g)(4)). It applies even where, in contrast to Plaintiffs’

indirect support allegations, a party provides medicine directly to a terrorist group. Id.; see also



       90
          See, e.g., Kirk Semple, Sectarian Attack Is Worst in Baghdad Since Invasion, N.Y.
Times (Nov. 24, 2006) (Ex. 74) (describing attacks on Ministry of Health employees, including a
siege by Sunni insurgents of Ministry headquarters, which was repelled by “Ministry Security
guards with assault rifles . . . until Iraqi and American troops responded two hours later”).
       91
         These Defendants include the AstraZeneca Defendants, Pfizer Defendants, Roche U.S.
Defendants, and Roche Ltd, as well as several J&J Defendants (Cilag GmbH International,
Janssen Pharmaceutica NV, Janssen Ortho LLC, and Ortho Biologics LLC).

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United States v. Warsame, 537 F. Supp. 2d 1005, 1019 n.12 (D. Minn. 2008); United States v.

Shah, 474 F. Supp. 2d 492, 495-96 (S.D.N.Y. 2007), aff’d sub nom. Farhane, 634 F.3d 127.

       This decision to exempt the provision of medicine from the ATA reflects Congress’s

“careful balancing of interests in creating limited exceptions to the ban on material support.”

Holder v. Humanitarian Law Project, 561 U.S. 1, 36 (2010) (citing § 2339A(b)(1)); see also

H.R. Rep. No. 104–383, at 178 n.3 (1995). Congress expressly “decide[d] that the humanitarian

value of providing medicine to [terrorist] organizations outweighs the risk that the medicine

would be sold to finance terrorist activities.” Humanitarian Law Project v. Reno, 205 F.3d 1130,

1136 n.4 (9th Cir. 2000).

       No doubt recognizing that the medicine exception bars any claim of material support that

is rooted in the provision of medicine to the Ministry (including the provision of free

pharmaceuticals), Plaintiffs make conclusory and generic allegations that the Pharmaceutical

Defendants also “provide[d] cash” and other “services.” See Compl. ¶ 637.92 But particularly

where Congress has carefully crafted an exclusion from liability, courts are vigilant against

“artful skirting” of that immunity through “threadbare allegations” or conclusory accusations.

Kimzey v. Yelp! Inc., 836 F.3d 1263, 1266, 1268 (9th Cir. 2016).

       In contrast to their specific allegations regarding the Pharmaceutical Defendants’ alleged

provision of free medicines, see, e.g., Compl. ¶¶ 183-85, 248-49, 279-81, 306-07 (alleging, inter


       92
          Plaintiffs also assert that, in addition to medicines, the Pfizer and Roche Defendants
provided “medical devices” for administering their hemophilia and chronic-hepatitis
medications. See Compl. ¶ 285 & n.231 (asserting that each “pack” of Pfizer’s hemophilia drug
contained, inter alia, “one pre-filled syringe of solvent … for injection,” “one sterile vial adapter
reconstitution device,” and “one sterile infusion set”); id. ¶ 311 (alleging that Roche’s chronic-
hepatitis medicine was sold with “needles” or in a pre-filled “injector”). But such basic
applicators or sterilization implements, which are essential to the “appropriate use or
application” of life-saving intravenous drugs and therefore included as part of those medications,
plainly fall within § 2339A’s medicine exception. See Farhane, 634 F.3d at 142 & n.12.


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alia, specific medications, national drug codes, contract numbers, and percentages of free

goods), Plaintiffs proffer no factual content supporting their claim that, “as a general matter,

companies doing business with Kimadia [had] to pay bribes of at least 20%”—sometimes in the

form of “cash payments” called “commissions”—“on every contract,” id. ¶ 139. Nor do

Plaintiffs provide a factual basis for their conclusory assertion that “each Defendant paid

significant ‘commissions’ to [Ministry] officials who were members of Jaysh al-Mahdi at some

or all . . . transaction stages.” Id. ¶ 142; see also id. ¶¶ 182, 247, 278, 305. And what specific

allegations Plaintiffs do provide show that some companies “refused to pay” cash commissions

allegedly demanded by the Ministry. Id. ¶¶ 52, 216. This Court need not “accept [the]

inferences drawn by [Plaintiffs]” when they “are not supported by the facts set out in the

complaint.” Hettinga v. United States, 677 F.3d 471, 476 (D.C. Cir. 2012).93

       Moreover, Plaintiffs’ allegations are impermissibly generic. “To state a claim against

each Defendant, . . . Plaintiffs must ‘make allegations that plausibly suggest that each

Defendant’” acted unlawfully. Hinds Cty. v. Wachovia Bank NA, 620 F. Supp. 2d 499, 513

(S.D.N.Y. 2009) (emphasis added) (citation omitted). Instead, Plaintiffs’ allegations of bribes

and services speak only in “general terms without any specification of any particular activities

by any particular defendant.” In re Elevator Antitrust Litig., 502 F.3d 47, 50-51 (2d Cir. 2007)

(emphasis added) (rejecting such vague allegations as inconsistent with Twombly); accord

Redondo Waste Sys., Inc. v. Lopez-Freytes, 659 F.3d 136, 140 (1st Cir. 2011). “[T]his type of



       93
          Plaintiffs’ claims that the Pharmaceutical Defendants provided “free trips abroad” and
other “services,” Compl. ¶ 637, suffer from the same defect: they are conclusory and
unsupported by concrete factual allegations, see id. ¶¶ 153 (offering only one example unrelated
to any Pharmaceutical Defendant), 154, 637. Those assertions are accordingly “‘not entitled to
be assumed true.’” RSM Prod. Corp. v. Freshfields Bruckhaus Deringer U.S. LLP, 682 F.3d
1043, 1052 (D.C. Cir. 2012).


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‘group pleading’ does not satisfy Rule 8.” Sheeran v. Blyth Shipholding S.A., No. 14-cv-5482,

2015 WL 9048979, *3 (D.N.J. Dec. 16, 2015).

        These deficiencies are particularly stark with respect to the Manufacturer Defendants.

Aside from a single, bare allegation purporting to encompass all Defendants, Compl. ¶ 142, the

Manufacturers are not alleged to have made any payments to the Ministry, corrupt or otherwise,

see id. ¶¶ 181, 239, 276, 304 (alleging that only the Suppliers “negotiated with Kimadia and

made corrupt payments”). Rather, they are accused of having acted unlawfully merely by

manufacturing pharmaceutical drugs for worldwide distribution. Id. ¶¶ 187, 251, 283, 309.

Even if such routine commercial activity could implicate the ATA, but see supra p. 50—it would

fall firmly within the medicine exception.

        E.      Plaintiffs’ Terrorism Financing Claim Should Be Dismissed With Respect To
                The 89 Plaintiffs Suing Over Injuries Or Deaths Of U.S. Service Members

        Plaintiffs cannot premise liability under the ATA on a violation of 18 U.S.C. § 2339C for

injuries suffered by U.S. service members. Section 2339C criminalizes the provision or

collection of funds with the intent or knowledge that the funds are to be used to carry out certain

acts of terrorism. But the acts of terrorism covered by § 2339C expressly do not include attacks

on military personnel or others involved in hostilities in an armed conflict. Rather, the provision

applies only to terrorist acts “intended to cause death or serious bodily injury to a civilian, or to

any other person not taking an active part in the hostilities in a situation of armed conflict . . . ”

18 U.S.C. § 2339C(a)(1)(B) (emphasis added).94 Congress enacted § 2339C to implement the

International Convention for the Suppression of the Financing of Terrorism. See Almog v. Arab



        94
          Section 2339C(a)(1)(A) further covers acts of terrorism that violate certain specified
treaties. None of these treaty violations is applicable here, and Plaintiffs limit their claim to the
financing of terrorist acts under subsection (a)(1)(B). See Compl. ¶ 644.


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Bank, PLC, 471 F. Supp. 2d 257, 277 (E.D.N.Y. 2007). As the Executive Branch explained in

submitting the treaty to the Senate to be ratified, this definition of terrorism was drafted to

encompass only attacks on civilians and “off-duty military personnel,” such as the peacetime

attack on a military housing complex in Saudi Arabia in 1996. Letter of Submittal from Deputy

Secretary Strobe Talbott, Oct. 3, 2000, S. Treaty Doc. No. 106-49 at VII.

       The U.S. service members here are by definition not “civilians.”95 And far from being

injured while off duty outside a war zone, the Complaint makes clear that they were attacked

while taking an active part in the hostilities of the Iraq War. See, e.g., Compl. ¶¶ 391, 393, 449-

52, 521-22; supra Part II. Count Four should be dismissed as to those Plaintiffs.

IV.    PLAINTIFFS’ CLAIMS FOR AIDING-AND-ABETTING LIABILITY UNDER
       THE ATA FAIL FOR MANY REASONS

       Plaintiffs’ aiding-and-abetting claims under 18 U.S.C. § 2333(d) are equally expansive

and unmoored from the ATA’s text and purpose. In amending the ATA in 2016, Congress

rejected a broad construction of aiding-and-abetting liability for all acts of international

terrorism, instead confining such liability to encompass only those acts “committed, planned, or

authorized” by an FTO, and only where the defendant “knowingly provid[ed] substantial

assistance” to the perpetrator of such an act with knowledge of the FTO’s involvement. 18

U.S.C. § 2333(d)(2); see supra p. 22. As the Chair of the House Judiciary Committee explained

at the time, “[s]econdary liability should only attach to persons who have actual knowledge that

they are directly providing substantial assistance to a designated foreign terrorist organization in

connection with the commission of an act of international terrorism.” 162 Cong. Rec. H5240




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         To the extent the civilian contractors took an active part in hostilities or otherwise
performed combat-related functions in armed conflict, the same argument would apply.


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(daily ed. Sept. 9, 2016) (statement of Rep. Goodlatte). Plaintiffs have failed in multiple ways to

satisfy the elements of § 2333(d).

        A.      Plaintiffs Cannot Satisfy § 2333(d)’s Threshold Requirement That A
                Designated FTO “Committed, Planned, Or Authorized” Each Alleged “Act
                Of International Terrorism”

                1.      Plaintiffs Fail To Adequately Plead That Hezbollah Planned Or
                        Authorized The Jaysh Al-Mahdi Attacks

        Jaysh al-Mahdi, the group Plaintiffs allege committed the attacks that injured them, was

not designated an FTO by the Secretary of State. Compl. ¶ 344. Plaintiffs therefore strain to tie

Jaysh al-Mahdi to a different organization, Hezbollah, which was a designated FTO, by claiming

that Hezbollah “planned” or “authorized” the attacks that Jaysh al-Mahdi “committed.”96 Id.

¶¶ 15, 390. But that effort fails, because whatever the connections between the two

organizations, Plaintiffs’ allegations do not include any actions by Hezbollah that constituted

planning or authorizing Jaysh al-Mahdi activities, let alone the specific attacks from which

Plaintiffs’ injuries allegedly arose.

        The relationship of control and the decision-making authority that “planning” and

“authorization” connote is not alleged by the Complaint. To “plan” something is to “design” it

or “decide on and arrange [it] in advance.” New Oxford Am. Dictionary (3d ed. 2010).97 To




        96
          The Capra Family Plaintiffs allege an attack committed not by Jaysh al-Mahdi but by
Ansar al-Sunna (“AAS”). Compl. ¶¶ 410-30. That attack is properly alleged to have been
“committed” by an FTO. But this claim still fails because (among many other reasons) Plaintiffs
do not allege that Defendants aided and abetted AAS, “the person who committed” the act. 18
U.S.C. § 2333(d)(2). Aside from the brief allegation (Compl. ¶ 411) that Sgt. Capra was killed
by AAS, the Complaint does not contain any reference at all to that group.
        97
         See also, e.g., The Chambers Dictionary (13th ed. 2014) (“to design” or “devise” “a
scheme drawn up beforehand”).



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“authorize” something is to “give official permission” or “approval” for it. Id.98 Plaintiffs have

not pleaded that Hezbollah decided on and arranged in advance the Jaysh al-Mahdi attacks, or

that Hezbollah gave official permission or approval for the Jaysh al-Mahdi attacks.

       Plaintiffs allege instead that Hezbollah provided general forms of support and inspiration

to Jaysh al-Mahdi, e.g., that Hezbollah recruited, trained, and provided weapons and logistical

support to Jaysh al-Mahdi militants, Compl. ¶¶ 15, 345, 354-55, 358-60, 373-89, and conducted

a propaganda campaign to “incite[]” its membership, id. ¶¶ 15, 361-72. Such activities do not

constitute planning or authorizing any conduct by Jaysh al-Mahdi, much less planning or

authorizing the commission by Jaysh al-Mahdi of each particular act of international terrorism.

To the contrary, the first type of conduct falls within the meaning of a different term used in the

ATA: “provid[ing] material support or resources,” which Congress defined to include providing

“training,” “weapons,” “expert advice,” “personnel,” and any “service,” 18 U.S.C. § 2339A(a),

(b)(1). Congress could have borrowed the language of § 2339A if it had wanted to impose

liability for attacks by a group that receives “material support or resources” from an FTO, but

Congress enacted a narrower provision that must be given effect. See Russello v. United States,

464 U.S. 16, 23 (1983). And the second type of conduct, generally promoting an organization,

falls outside even the definition of material support.

       Congress’s intent that the terms “planned” and “authorized” in the ATA be given their

ordinary meaning is further confirmed by its decision not to adopt the more expansive

terminology from another law that, like JASTA’s amendment of the ATA, focused on the

terrorist attacks of 9/11. When Congress authorized the President to use force in response to the


       98
         See also, e.g., The Chambers Dictionary (13th ed. 2014) (“to give authority to”);
Black’s Law Dictionary (10th ed. 2014) (“authorize” defined as 1) “to give legal authority; to
empower;” and 2) “to formally approve, to sanction”).


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9/11 attacks, it specified that such authority applied against anyone who “planned, authorized,

committed, or aided” those attacks. Authorization for Use of Military Force, Pub. L. No. 107–

40, § 2, 115 Stat. 224, 224 (2001) (emphasis added). It is noteworthy that Congress’s

amendment of the ATA borrowed the “planned, committed, authorized” formulation verbatim—

but omitted the term “aided.”

       Moreover, even if Plaintiffs had adequately alleged that Hezbollah planned or authorized

some Jaysh al-Mahdi actions, the Complaint does not allege facts to establish that Hezbollah

planned or authorized the specific attacks from which Plaintiffs’ injuries arose. For example, the

“act of international terrorism” from which Plaintiff Johnson’s injuries arose is the “EFP planted

and detonated by Jaysh al-Mahdi . . . in Az Zubaydiyah.” Compl. ¶ 489. To state a claim of

aiding-and-abetting liability against Defendants for that attack, Plaintiffs must plead, among

other things, that the designated FTO, Hezbollah, planned or authorized that particular “act of

international terrorism.” But Plaintiffs do not even attempt to meet this requirement, for that

attack or any other. Instead, they offer a “[t]hreadbare recital[] of the elements” of the claim

without the required factual allegations. Iqbal, 556 U.S. at 678; see Compl. ¶ 390 (“Each of the

acts of international terrorism . . . was planned, authorized, and/or carried out by Hezbollah.”).

When Plaintiffs actually do plead facts about the individual attacks, see id. ¶¶ 391-615, specific

factual allegations about Hezbollah’s role are conspicuously absent.99




       99
           Aside from vague allegations about “Hezbollah-backed” or “Hezbollah-trained” Jaysh
al-Mahdi cells, Compl. ¶ 385, the Complaint alleges “on information and belief” that, for two
particular attacks, “cells that reflected a ‘combination of Hezbollah and [Jaysh al-Mahdi]’ were
responsible,” id. (penultimate bullet). Yet when the Complaint elsewhere describes in detail how
Jaysh al-Mahdi allegedly carried out those same two attacks, it omits any mention of Hezbollah,
see id. ¶¶ 432-33, 492, just as it does for each of the other attacks.


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                2.      Plaintiffs’ Novel Attempt To Use RICO To Plead Around The ATA’s
                        FTO Limit On Aiding-And-Abetting Liability Fails

        Having failed to adequately allege that an FTO “committed, planned, or authorized” any

of the attacks at issue, as the ATA requires for aiding-and-abetting liability, Plaintiffs offer a

novel and unfounded RICO theory. According to this Rube Goldberg-esque theory, Plaintiffs’

injuries arose not from any individual “act of international terrorism” but from a long series of

racketeering acts conducted over many years that together constitute what Plaintiffs call the

“Jaysh al-Mahdi Campaign,” which in turn allegedly violated three provisions of RICO and

which, Plaintiffs allege, was itself a distinct “act of international terrorism” that (a) caused

plaintiffs’ injuries, (b) was “committed, planned, or authorized” by Hezbollah (an FTO), and (c)

was aided and abetted by Defendants. Such pleading artifice fails for a host of reasons.

        First, it does not meet the ATA’s basic requirement for aiding-and-abetting liability that

each Plaintiff’s “injury aris[e] from an act of international terrorism committed, planned, or

authorized” by an FTO. 18 U.S.C. § 2333(d)(2). Plaintiffs contend that their RICO theory

satisfies this requirement because the years-long “Campaign” allegedly was planned and

authorized by Hezbollah, Compl. ¶¶ 629, 634, but this disregards the plain language of the ATA.

As the statute makes clear, it is the “act” of terrorism that gives rise to injury—i.e., the terrorist

attack itself—that must be “committed, planned, or authorized” by the FTO. Plaintiffs have not

alleged—and cannot allege—facts sufficient to meet that requirement. And it is not enough to

allege that an FTO “committed, planned, or authorized” something else, such as a RICO “pattern

of racketeering” or an amorphous “Campaign.”

        Second, Plaintiffs’ RICO theory conflicts with Congress’s deliberate imposition of the

FTO requirement to limit the class of terrorist attacks that could give rise to aiding-and-abetting

liability. As discussed above, Congress tightly cabined ATA aiding-and-abetting liability to



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ensure that it would “only attach” to persons “directly providing substantial assistance to a

designated foreign terrorist organization in connection with the commission of an act of

international terrorism.” Cong. Rec. at H5240 (daily ed.) (statement of Rep. Goodlatte).

Plaintiffs’ open-ended RICO theory based on an alleged affiliation between an FTO and a

“Campaign”—but not between an FTO and any of the terrorist attacks at issue here—is flatly

inconsistent with the intent of Congress to strictly limit aiding-and-abetting liability.

        Third, Plaintiffs’ threadbare allegations fail to satisfy RICO’s demanding pleading

requirements under all three provisions they invoke (18 U.S.C. § 1962(b), (c), and (d)). See

Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1398 (9th Cir. 1986) (Section

1962(b) “makes it unlawful to [1] acquire [2] an interest in or control of [3] an enterprise [4]

through a pattern [5] of racketeering activity”); Brink v. Cont’l Ins. Co., 787 F.3d 1120, 1127

(D.C. Cir. 2015) (Section 1962(c) makes it unlawful to “(1) conduct (2) . . . an enterprise

(3) through a pattern (4) of racketeering activity”); Beck v. Prupis, 529 U.S. 494, 500 (2000)

(“Section 1962(d) makes it unlawful for a person ‘to conspire [with one or more persons] to

violate [subsection] (a), (b), or (c) . . . .’”). Plaintiffs merely allege a laundry list of unspecified

criminal acts, at unspecified times, carried out by Sadr or “other terrorists.” Compl. ¶ 628. This

does not come close to alleging “sufficient factual matter” to state a RICO violation. Iqbal, 556

U.S. at 678.100 Plaintiffs’ theory also fails because they do not allege that substantial assistance

went to any particular RICO perpetrator (i.e., the “person who committed [the supposed] act of

international terrorism,” 18 U.S.C. § 2333(d)(2)), as opposed to a particular RICO enterprise, see


        100
            Nor do Plaintiffs adequately allege that they were injured by reason of the alleged
RICO violations. See, e.g., Danielsen v. Burnside-Ott Aviation Training Ctr., Inc., 941 F.2d
1220, 1231 (D.C. Cir. 1991) (a plaintiff is injured by reason of a § 1962(b) violation only when
his injuries “ar[ose] from the acquisition or maintenance of an interest in or control of an
enterprise”); Beck, 529 U.S. at 505 (under § 1962(d), a plaintiff is injured only by reason of a
substantive RICO violation done in furtherance of the conspiracy).


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United States v. Philip Morris USA Inc., 566 F.3d 1095, 1113 (D.C. Cir. 2009) (per curiam)

(“[T]he RICO [perpetrator] must be distinct from the RICO enterprise.”).

       Finally, Plaintiffs’ RICO theory is contradicted by their own sources. Plaintiffs claim

that Hezbollah helped found Jaysh al-Mahdi, see Compl. ¶¶ 326, 345, but materials cited in the

Complaint state that Hezbollah did not “establish contacts” with Jaysh al-Mahdi until after it was

founded.101 Plaintiffs’ sources also make clear that Sadr established Jaysh al-Mahdi, appointed

top commanders, and took control of Sadr City without any involvement by Hezbollah.102

Hezbollah obviously could not have “committed, planned, or authorized” activities with which it

had no involvement. Allegations contradicted by Plaintiffs’ own sources cannot be accepted as

true. See Redmon v. U.S. Capitol Police, 80 F. Supp. 3d 79, 89 (D.D.C. 2015). Plaintiffs also

rely on materials that attest that Hezbollah’s support for Iraqi insurgent groups such as Jaysh al-

Mahdi remained “at most, limited and furtive,” and consisted of “political relations” rather than

“direct involvement or military support.”103 The loose relationship between Hezbollah and Jaysh

al-Mahdi that Plaintiffs’ allegations and sources portray is not one in which a founding superior

planned or authorized a subordinate’s “Campaign.”




       101
          Compare Compl. ¶ 326 (Sadr founded Jaysh al-Mahdi in April 2003), with Edward T.
Pound, The Iran Connection, U.S. News & World Report 46 (Nov. 22, 2004) (cited Compl. at
¶ 345 n.288) (Ex. 14) (Hezbollah established contacts with Jaysh al-Mahdi in late August 2003).
       102
          Compare Mahan Abedin, Dossier: The Sadrist Movement, Middle East Intell. Bull.
(July 2003) (cited Compl. ¶ 326 n.266) (Ex. 15) (stating that these things were accomplished by
July 2003), with Pound, supra note 101, at 46 (cited Compl. at ¶ 345 n.288) (stating that
Hezbollah established contacts with Jaysh al-Mahdi in late August 2003).
       103
         Rola el-Husseini, Hizbullah and Regional Non-State Actors, in Islamist Politics in the
Middle East 166, 176, 178 (Samer S. Shehata ed., 2012) (cited at Compl. ¶ 336 n.331) (Ex. 16).


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       B.      Both Aiding-And-Abetting Counts Also Fail Because The Allegations Do Not
               Establish The Mens Rea Or Actus Reus Of A Substantial Assistance Claim

               1.      Plaintiffs Fail To Plead That Defendants “Knowingly” Assisted Acts
                       Of Terrorism Committed, Planned, Or Authorized By An FTO

       In addition to limiting aiding-and-abetting liability to “act[s] of international terrorism

committed, planned, or authorized by” an FTO, the ATA confines such liability to persons “who

aid[] and abet[], by knowingly providing substantial assistance, or who conspire[] with the person

who committed such an act of international terrorism.” 18 U.S.C. § 2333(d)(2) (emphasis

added). “Such” an act of international terrorism is the kind referenced earlier in the provision:

one that is committed, planned, or authorized by an FTO. Read together, then, § 2333(d)(2)

prohibits “knowingly providing substantial assistance” to a “person who committed [an act of

international terrorism committed, planned or authorized by an FTO].” The “knowing”

requirement naturally applies to each element of the claim, including that the allegedly assisted

act of terrorism involved the requisite FTO participation.

       The FTO requirement serves to ensure that a defendant had sufficient notice of a

designated terrorist’s involvement before providing substantial assistance. The importance of

such notice pervades § 2333(d)(2). Under that provision, secondary liability does not attach if

the FTO is so designated only after it “committed, planned, or authorized” the terrorist act. 18

U.S.C. § 2333(d)(2). The act is still terrorism, but the alleged aider-and-abettor cannot be liable

because the defendant was not put on notice that an FTO was involved until after the defendant

provided substantial assistance. See id. That scienter under § 2333(d)(2) includes knowledge of

a designated FTO’s involvement is also confirmed by JASTA’s purpose and legislative history.

See supra p. 60 (statement of Chair of the House Judiciary Committee explaining that JASTA’s

aiding-and-abetting provision is limited to designated FTOs, because secondary liability “should

only attach to persons who have actual knowledge that they are directly providing substantial


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assistance to a designated foreign terrorist organization” (emphasis added)). It made sense for

Congress to limit aiding-and-abetting liability in this manner because it is the Secretary of State’s

official designation that provides the notice that an organization is “‘so tainted by [its] criminal

conduct that any contribution to such an organization facilitates such conduct.’” Humanitarian

Law Project, 561 U.S. at 7 (quoting note following 18 U.S.C. § 2339B). Congress recognized

that if a defendant does not know that an FTO is involved, then a defendant’s actions—selling

medicine to a U.S.-supported health ministry, for example—do not warrant treble damages as an

aider-and-abettor of terrorism.

       Plaintiffs’ claims fail this knowledge requirement. Plaintiffs strain (unsuccessfully) to

link Jaysh al-Mahdi to Hezbollah, and they do so without any allegation that Defendants knew of

any such link. See Compl. ¶¶ 326-89. The only allegation about Defendants’ knowledge of

Hezbollah is a tangential assertion that Defendants “were aware of Hezbollah’s pharmaceutical

smuggling operations. . . . into and out of Nigeria,” id. ¶ 350 (emphasis added)—a far cry from

alleging that Defendants knew they were substantially assisting acts of international terrorism

committed, planned, or authorized by Hezbollah. And even if knowledge of an FTO’s

involvement were not required, Plaintiffs’ claims still would fail to satisfy § 2333(d)’s

knowledge element. For reasons explained above, see supra Part III.C, Plaintiffs do not and

cannot plausibly allege that Defendants knew the U.S.-supported Ministry was a terrorist front

helping Jaysh al-Mahdi attack U.S. soldiers. They cannot therefore show that Defendants

“knowingly provid[ed] substantial assistance” to Jaysh al-Mahdi’s alleged commission of any

“act of international terrorism.” 18 U.S.C. § 2333(d)(2).

               2.      Plaintiffs Fail To Plead Defendants “Substantial[ly] Assist[ed]” Jaysh
                       Al-Mahdi’s Alleged Acts Of Terrorism

       Plaintiffs’ aiding-and-abetting claims also fail because the Complaint falls well short of



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pleading that Defendants “provid[ed] substantial assistance” to the person who committed the

“act of international terrorism” from which Plaintiffs’ injuries arose. 18 U.S.C. § 2333(d)(2)

(emphasis added). Congress directed courts to apply the multi-factor framework set forth in

Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983), to determine whether a defendant

substantially assisted the tortfeasor in committing the principal act of international terrorism. See

JASTA § 2(a)(5), 130 Stat. 852. Significantly, the Halberstam “factors are the same as those

used in determining the existence of legal causation.” Restatement (Second) of Torts § 876 cmt.

d (1979).104 Because any link between Defendants’ contracts with the Ministry and Jaysh al-

Mahdi’s attacks on service members is highly attenuated, see supra Part III.A, it is no surprise

that the Halberstam factors point decisively against liability.

       The first and second factors, the nature of the act encouraged and the amount and kind of

assistance given, “dictate[ ] what aid might matter, i.e., be substantial.” Halberstam, 705 F.2d at

484. Defendants did not supply Jaysh al-Mahdi with bombs or bullets, which would no doubt

“matter” where the acts allegedly encouraged are terrorist attacks; rather, they sold the Ministry

of Health intravenous breast cancer medication, Compl. ¶¶ 184 (Arimidex), 306 (Herceptin),

ultrasound machines, id. ¶ 220, catheters, id. ¶ 241, and other medical products. Unlike the aid

provided in Halberstam and the cases it cites, Defendants’ alleged transactions are many steps

removed from the Jaysh al-Mahdi attacks they allegedly assisted. Supra Part III.A; see Ofisi,

2017 WL 4355922, at *15 (dismissing common-law aiding-and-abetting claim for financing

terrorism because plaintiffs failed to “plead a link between the aid rendered and the principal



       104
          See also Aetna Cas. & Surety Co. v. Leahey Const. Co., 219 F.3d 519, 537 (6th Cir.
2000) (“Establishing [substantial assistance] . . . requires the plaintiff to show that the secondary
party proximately caused the violation, or, in other words, that the encouragement or assistance
was a substantial factor in causing the tort.”).


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violation (or violations) alleged”). And whatever value Jaysh al-Mahdi could have extracted

from Defendants’ medicine and medical equipment was insubstantial in comparison with the full

budget of the Ministry that Jaysh al-Mahdi was allegedly looting, the resources of other

ministries that Jaysh al-Mahdi allegedly controlled, and the support that Jaysh al-Mahdi

allegedly received from Iran. See supra p. 28. Put simply, Plaintiffs have not pleaded that

Defendants’ sale of medical goods to the Ministry, even if done corruptly, was a “substantial

factor in causing” bombings with Iranian-supplied weapons, or similar assaults on the U.S.

military. Nat’l R.R. Passenger Corp. v. Veolia Transp. Servs., Inc., 791 F. Supp. 2d 33, 53-54

(D.D.C. 2011).

       The third and fourth Halberstam factors—whether the defendant was present at the time

of the principal violation and the defendant’s relationship to the principal wrongdoer, 705 F.2d at

478, 484—further demonstrate that Plaintiffs have failed to allege “substantial assistance.”

Plaintiffs do not allege that any Defendant was present at the time of any alleged terrorist attack

or racketeering activity, or that any Defendant had a special relationship (such as a position of

authority) vis-à-vis any Jaysh al-Mahdi agent. See id. at 484 (“the defendant’s relation to the

tortfeasor” is significant when it involves a “position of authority” (emphasis omitted)). Indeed,

allegations of any relationship between Defendants and Jaysh al-Mahdi are attenuated at best,

because Defendants allegedly engaged in “corrupt transactions with MOH,” the Ministry the

United States supported—not with Jaysh al-Mahdi. Compl. ¶ 9; see also supra pp. 19-21.

        Halberstam’s fifth factor involves a showing that the defendant “was one in spirit with

the [principal wrongdoer].” 705 F.2d at 484; see In re Temporomandibular Joint (TMJ) Implants

Prods. Liab. Litig. (“TMJ”), 113 F.3d 1484, 1496 (8th Cir. 1997) (defendants’ actions must have

been “done for the purpose of assisting the [principal violation]”). Courts that have analyzed




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aiding-and-abetting liability under the ATA have emphasized that it is not enough that the

defendant “knew of [the principal wrongdoer’s] illegal activities”; he must also have “desired to

help those activities succeed.” Boim v. Quranic Literacy Inst. & Holy Land Found. for Relief &

Dev., 291 F.3d 1000, 1023 (7th Cir. 2002) (emphasis added), overruled on other grounds by

Boim, 549 F.3d 685; see Goldberg v. UBS AG, 660 F. Supp. 2d 410, 425 (E.D.N.Y. 2009)

(“‘substantial assistance’” requires a showing of the defendant’s “desire to help [the unlawful]

activity succeed”); Rothstein v. UBS AG, 647 F. Supp. 2d 292, 295 (S.D.N.Y. 2009) (noting that

courts “have dismissed aiding and abetting claims under the [ATA] precisely for failure to allege

knowledge and intent,” and dismissing such claim where there was no plausible allegation that

defendant bank “intended” that “its funds [provided to Iran] would be used to sponsor terrorist

acts”).105 Here, Plaintiffs allege that Defendants engaged in corrupt dealings to “win sales

contracts” from the Ministry. Compl. ¶ 4; see also supra at 19-21. They do not, and could not

plausibly, allege that Defendants’ sales were driven by a desire to facilitate a campaign of

terrorism by Jaysh al-Mahdi against U.S. service members.106

V.     PLAINTIFFS’ STATE-LAW IIED CLAIMS SHOULD BE DISMISSED

       A.      Plaintiffs’ IIED Claims Are Time-Barred

       The statute of limitations for IIED claims brought in the District of Columbia is three



       105
          These cases assumed that aiding-and-abetting liability was available under § 2333(a)
before JASTA amended the ATA to add § 2333(d). Later case law concluded, and JASTA
subsequently confirmed, that there is no general aiding-and-abetting liability under the ATA,
except under the limited circumstances authorized by § 2333(d). See Rothstein, 708 F.3d at 97-
98; Boim, 549 F.3d at 689-90.
       106
           The sixth and final Halberstam factor, the duration of the aid allegedly provided, does
not play a significant role in this case. See In re TMJ Implants, 113 F.3d at 1496 (despite
contacts “extending over four decades,” this factor does not alter the analysis where assistance
was otherwise not substantial).



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years. Saunders v. Nemati, 580 A.2d 660, 665 (D.C. 1990).107 Plaintiffs filed this lawsuit

between eight and thirteen years after the attacks they allege injured them. See Compl. ¶¶ 391-

615 (alleging attacks from 2005-2009). Their IIED claims are therefore untimely.

       Recognizing this infirmity, Plaintiffs invoke the “discovery rule,” which applies only

where “the relationship between the fact of injury and the alleged tortious conduct [is] obscure.”

Mullin v. Washington Free Weekly, Inc., 785 A.2d 296, 298 (D.C. 2001). In such cases, the

limitations period begins to run upon “inquiry notice” of the cause of action, i.e., “that notice

which a plaintiff would have possessed after due investigation.” Cevenini v. Archbishop of

Wash., 707 A.2d 768, 771 (D.C. 1998). Plaintiffs summarily claim that they “could not have

known with the exercise of reasonable diligence of Defendants’ wrongdoing” “[u]ntil 2017.”

Compl. ¶ 653. But they do not support this bare assertion, point to any steps they took to

identify wrongdoing, or explain what changed in 2017.

       This failure is all the more glaring given Plaintiffs’ claim that everyone knew of the

alleged wrongdoing. According to Plaintiffs, by at least 2008 it was “widely understood” and

reported by “Western media sources” that Jaysh al-Mahdi exercised control over the Ministry,

and was financing terrorist activities through inflated contracts, purported kickbacks, and

diverted products. E.g. Compl. ¶¶ 126, 166-67, 175-76. Defendants disagree that these reports

suffice to establish knowledge of Jaysh al-Mahdi’s alleged activities, see supra p. 53-54, but

Plaintiffs’ counsel cannot advance such a theory and simultaneously argue that these claims were

not discoverable until 2017. Bare invocation of the discovery rule cannot save these untimely

claims. See Alkasabi v. Wash. Mut. Bank, 31 F. Supp. 3d 101, 110 (D.D.C. 2014) (Leon, J.).



       107
            D.C. choice of law rules “treat statutes of limitations as procedural,” so the D.C.
statute of limitations governs, irrespective of what substantive law would apply to the IIED
claims. A.I. Trade Fin., Inc. v. Petra Int’l Banking Corp., 62 F.3d 1454, 1458 (D.C. Cir. 1995).

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       B.      Plaintiffs Fail to State IIED Claims On The Merits

       Plaintiffs’ IIED claims fail on the merits in any event. The tort of IIED is defined as

“extreme and outrageous conduct [that] intentionally or recklessly causes severe emotional

distress to another.” Restatement (Second) of Torts § 46 (1965).108 All Plaintiffs have failed to

plead IIED’s intent and causation elements, and 54 of them have failed to satisfy additional

applicable state law requirements.

       1. Causation. To state an IIED claim, “[t]he defendant’s actions must proximately cause

the plaintiff emotional distress.” Hollis v. Rosa Mexicano DC, LLC, 582 F. Supp. 2d 22, 26

(D.D.C. 2008). Plaintiffs have failed to plead that Defendants caused the Jaysh al-Mahdi attacks

that allegedly injured them, see supra at Part III.A, which necessarily dooms Plaintiffs’ IIED

claims. Indeed, courts have found proximate cause lacking in an IIED claim even where an ATA

claim survives. See Linde v. Arab Bank, PLC, 384 F. Supp. 2d 571, 590-91 (E.D.N.Y. 2005).

       2. Intent. IIED requires the defendant to “desire[] to inflict severe emotional distress,”

“know[] that such distress is certain, or substantially certain, to result from his conduct,” or act

“in deliberate disregard of a high degree of probability that the emotional distress will follow.”

Restatement (Second) of Torts § 46 cmt. i. The Complaint does not properly allege that

Defendants intended, knew, or deliberately disregarded that their allegedly corrupt transactions

financed terrorism, see supra pp. 50-52, let alone that Defendants disregarded a “high



       108
            Under D.C. choice of law rules, the law of each Plaintiff’s domicile at the time of the
alleged injury governs. See, e.g., Dammarell v. Islamic Republic of Iran, No. 01-cv-2224 (JDB),
2005 WL 756090, at *18-23 (D.D.C. Mar. 29, 2005). The Complaint does not identify
Plaintiffs’ domiciles at the relevant time, so Defendants assume they are the same as their current
residences. Each of these 27 jurisdictions has adopted the Restatement (Second) of Torts for
guidance on the essential elements of an IIED claim. See Twyman v. Twyman, 855 S.W.2d 619,
622 & n.2 (Tex. 1993) (collecting cases).



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probability” that such funding would result in attacks against U.S. forces, and so cause emotional

distress to service members and their families. Plaintiffs’ conclusory allegations, see Compl. ¶

651, are insufficient, see Waldon v. Covington, 415 A.2d 1070, 1077-78 (D.C. 1980). And for

the 27 Plaintiffs residing in Arkansas, Missouri, Oregon, Virginia, and Wisconsin,109 an even

stricter intent standard applies. They must plead that Defendants’ actions were “directed at the

plaintiff individually,” or that Defendants’ purpose was to “cause [Plaintiff’s] emotional

distress.” See Gibson v. Brewer, 952 S.W.2d 239, 249 (Mo. 1997); McGanty v. Straudenraus,

901 P.2d 841, 849 (Or. 1995); Supervalu, Inc. v. Johnson, 666 S.E.2d 335, 344 (Va. 2008);

Rabideau v. City of Racine, 627 N.W.2d 795, 803 (Wis. 2001); see also Davis v. Fulton, 884 F.

Supp. 1245, 1264 (E.D. Ark. 1995) (“A tort of outrage occurs only when a person engages in a

course of outrageous conduct with the intent to inflict extreme emotional distress upon

another.”). These Plaintiffs do not attempt to meet this element.

       3. Presence. The states of Arizona, California, Colorado, Idaho, Kentucky, and

Washington each limit IIED claims to plaintiffs who were present at the scene of the defendant’s

allegedly “extreme and outrageous conduct.” See, e.g., McKee v. Arizona, 388 P.3d 14, 20-21

(Ariz. App. 2016); Christensen v. Superior Court, 820 P.2d 181, 202-03 (Cal. 1991); Bradshaw

v. Nicolay, 765 P.2d 630, 632 (Colo. App. 1988); Deem v. Koch Agric. Inc., 188 F.3d 512, 512-

13 (9th Cir. 1999) (table) (applying Idaho law); Fryman v. Masters, No. 2004-CA-000932-MR,



       109
          Plaintiff Carl Reiher resides in Arkansas. Compl. ¶ 550. Plaintiffs Drew Edwards,
Donielle Edwards, and Kathryn Ann Johnson reside in Missouri. Id. ¶¶ 463, 467, 546. Plaintiffs
Robert Kugler and Gregory Klecker reside in Oregon. Id. ¶¶ 460, 507. Plaintiffs Angie Capra,
Anthony Capra, Sr., Sharon Capra, Mark Capra, Victoria Capra, A.C., J.C., S.C., Danielle Capra,
Emily Capra, Jacob Capra, Joanna Capra, Joseph Capra, Julia-Anne Capra, Michael Capra,
Rachel Lee, Sarah Johnson, Nikita McNeal, J.M., and Ami Neiberger reside in Virginia. Id.
¶¶ 413-29, 526-27, 540. Plaintiff Angela Robinson resides in Wisconsin. Id. ¶ 518.



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2005 WL 1993464, at *2 (Ky. Ct. App. Aug. 19, 2005); Reid v. Pierce, 961 P.2d 195, 203

(Wash. 1998). The 27 Plaintiffs who reside in those states110 do not (and presumably cannot)

allege that they were present when Defendants allegedly entered into corrupt transactions with

the Ministry.111

                                         CONCLUSION

       Plaintiffs should be honored, respected, and supported for the sacrifices they and their

family members made in service to the United States. But the Complaint’s expansive theories

under the ATA and state law do not support holding Defendants liable for the wartime attacks

that caused Plaintiffs’ injuries. The Complaint should be dismissed entirely, with prejudice.




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           Plaintiffs James Vaughn, Jeannine Vaughn, and Clifford Vaughn reside in Arizona.
Compl. ¶¶ 595-97. Plaintiffs John Aragon, Sr., Sally Chand, Michael Chand, Jr., Christina
Mahon, Ryan Chand, Brenda Chand, Rhett Stephens, and Summer Stephens reside in California.
Id. ¶¶ 398, 435-39, 497, 578-79. Plaintiffs Susan Arnold, David Arnold, Daisy Tucker, and
Brandon Arnold reside in Colorado. Id. ¶¶ 585-86, 588-89. Plaintiffs Elijah Harbin, Esther Tate,
Kathleen Stephens, Trent Stephens, Derek Stephens, and Brittani Hobson reside in Idaho. Id. ¶¶
477, 480-81, 575-77, 580. Plaintiffs Randall Thompson, Michele White, Shelby White, and
S.W. reside in Kentucky. Id. ¶¶ 519, 602-04. Plaintiffs Dempsey Bennett and Caren Klecker
reside in Washington. Id. ¶¶ 405, 506.
       111
            The Court can and should dismiss Plaintiffs’ IIED claims with prejudice for failure to
state a claim. Nevertheless, should the Court dismiss the ATA claims but retain supplemental
jurisdiction over the IIED claims, see 28 U.S.C. § 1367, Defendants reserve their right to assert
other applicable defenses, including forum non conveniens.


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Dated: February 5, 2018                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this Fifth day of February 2018, I electronically transmitted a

copy of the foregoing MEMORANDUM IN SUPPORT OF DEFENDANTS’ RULE 12(b)(1)

AND 12(b)(6) MOTION TO DISMISS on behalf of all Served Defendants to the Clerk’s Office

using the CM/ECF system, and service was effected electronically to all counsel of record.

                                                     s/ Carl J. Nichols
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